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                           EXHIBIT A
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                                                 Injured
                                  Injured        Child's Last
Parent First                      Child's First Name            Injured Party
Name           Parent Last Name   Name (Initial) (Initial)      DOB
Tom            Abney              M              D              1/16/2009
Carlyn         Abron              I              A              7/14/2003
Carlyn         Abron              J              A              12/11/2003
Kristine       Acevedo            K              S              3/13/2003
Kristine       Acevedo            L              S              6/16/2006
Kristine       Acevedo            C              S              2/20/2008
Kristine       Acevedo            T              I              11/23/2008
Kristine       Acevedo            D              I              2/19/2010
Kristine       Acevedo            C              I              5/14/2011
Nicole         Adams              M              M              6/18/2009
Nicole         Adams              J              M              5/18/2011
Iyana          Al-Amin            A              D              6/3/2008
Iyana          Al-Amin            J              S              3/19/2013

Denise         Alexander          M              A              1/9/2004
Denise         Alexander          S              S              12/10/2007
Denise         Alexander          A              A              8/11/2014
Dalia          Alexis             M              B              5/1/2003
Mayowa         Alfolabi           A              A              5/11/2005
Mayowa         Alfolabi           A              D              6/8/2007

Mayowa         Alfolabi           A              O              7/7/2011
Mayowa         Alfolabi           A              E              2/15/2017
Lucritia       Allen              I              A              6/4/2004
Lucritia       Allen              M              P              1/21/2007
Annetta        Allen              C              C              4/12/2007
Johnetta       Allen              L              E              5/9/2009
Belinda        Allen              A              A              6/19/2012
Annetta        Allen              BJ             C              12/28/2013
Johnetta       Allen              H              A              4/30/2016
Nicole         Allen-Nelson       D              N              1/15/2003
Nicole         Allen-Nelson       B              N              4/4/2004
Nicole         Allen-Nelson       B              N              11/26/2013
Goldie         Alomar             G              A              12/25/2004
Goldie         Alomar             GI             A              8/9/2006
               Altheimer-
Debra          Richardson         Z              R              6/27/2005
               Altheimer-
Debra          Richardson         S              R              4/14/2010
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            Altheimer-
Debra       Richardson        G          R           4/24/2012
Jeffrey     Ampy              E          A           11/24/2010
Madelyn     Amy               V          O           10/2/2006
Anika       Anderson          X          W           6/8/2003
Anika       Anderson          N          C           8/31/2006
Anika       Anderson          A          C           11/5/2007
Tennille    Anderson          K          M           4/10/2008
Joys        Anthony           J          J           3/8/2003
Teaira      Anthony           J          N           8/26/2013
Fred        Anthony III       D          A           1/6/2013
Danial      Arnold            A          D           7/1/2011
Vita        Arrington         A          N           10/13/2013
Aaliyah     Arrington         L          R           8/6/2016
Capitola    Ashley            J          A           1/25/2011
Chrie       Atkins            M          A           4/23/2008
Chrie       Atkins            T          B           10/21/2010
Chrie       Atkins            D          B           12/2/2011
Zena        Atou              N          A           11/17/2002
Zena        Atou              A          A           8/17/2005
Zena        Atou              N          A           8/16/2006
Carolyn     Aubrey            J          A           10/16/2008
Sonya       Austin            K          J           3/7/2012
Clinique    B-Wallace         W          J           2/19/2007
Clinique    B-Wallace         W          E           11/16/2008
Clinique    B-Wallace         W          S           10/8/2010
Clinique    B-Wallace         W          A           9/25/2015
Barbara     Bailey            G          C           11/15/2002
Barbara     Bailey            K          C           11/26/2003
Barbara     Bailey            Z          C           11/16/2005
Barbara     Bailey            T          S           2/4/2007
Magen       Baker             P          B           11/15/2007
Corey       Baker             J          H           7/1/2012
Magen       Baker             M          B           4/21/2015
Dashira     Balknight         G          J           8/25/2016
Laura       Ball              N          H           8/16/2006
Kapresha    Barber            H          T           7/8/2003
Kapresha    Barber            J          B           11/8/2006
Kapresha    Barber            B          K           11/11/2008
Jacquetta   Barefield         B          A           11/27/2002
Jacquetta   Barefield         A          B           7/9/2010
Jacquetta   Barefield         B          J           1/13/2013
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Jacquetta     Barefield       Z          B           10/19/2016
Brittney      Barker          A          T           9/12/2012
Mary-Ashley   Barker          G          F           10/15/2014
Brittney      Barker          K          T           9/25/2015
Starla        Barnefske       H          WJ          10/6/2011
Starla        Barnefske       M          W           12/11/2012
Starla        Barnefske       C          W           10/15/2014
Seneca        Barnes          N          K           2/3/2003
Seneca        Barnes          K          N           12/19/2004
Seneca        Barnes          K          C           8/14/2006
Seneca        Barnes          C          K           12/12/2008
Kira          Barnes          E          B           3/31/2011
Kira          Barnes          P          B           3/31/2011
Jennifer      Barnett         T          G           11/12/2003
Tanya         Barnett         B          E           8/31/2004
Tanya         Barnett         B          E           8/31/2004
Jennifer      Barnett         I          J           3/24/2006
Dorlesha      Barnett         J          D           8/6/2011
Cedric        Barry Sr.       D          B           7/23/2004
Cedric        Barry Sr.       T          B           10/16/2008
Erika         Barton          B          M           11/13/2015
Chamika       Bates           D          M           11/30/2007
Chamika       Bates           B          D           2/9/2015
Chamika       Bates           B          D           2/9/2015
Cianna        Batson          C          T           6/5/2007
Heather       Beach           K          R           6/1/2004
Heather       Beach           E          R           1/10/2007
Heather       Beach           T          R           2/19/2008
Heather       Beach           C          R           9/18/2011
Gladys        Beal            Z          J           8/10/2006
Gladys        Beal            K          J           12/30/2007
Kayairra      Beard           E          L           1/3/2007
Kayairra      Beard           E          L           2/6/2014
LeAndre       Beard           B          J           7/6/2014
Kenchelle     Bedenfield      K          B           1/4/2011
Dewayne       Bedenfield      D          B           2/23/2011
Kenchelle     Bedenfield      C          P           7/20/2013
Dewayne       Bedenfield      D          B           1/27/2014
Kenchelle     Bedenfield      G          P           10/9/2014
Kenchelle     Bedenfield      A          P           1/8/2016
Joseph        Belin           B          A           2/18/2003
Joseph        Belin           B          Z           1/7/2005
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Joseph      Belin             B          Z           3/19/2006
Sara        Bell              T          A           11/3/2002
Shawrica    Bell              J          T           4/3/2003
Sara        Bell              K          AJ          11/11/2004
Timothy     Bell              B          T           9/5/2006
Sara        Bell              T          A           4/1/2008
Chloe       Bell              O          B           7/18/2011
Sara        Bell              T          A           11/16/2013
Chloe       Bell              A          B           11/16/2013
Samone      Bell              C          B           11/27/2014
Audra       Bell              M          B           11/30/2014

Chloe       Bell              M          B           4/18/2015

Chloe       Bell              F          B           5/29/2016
Dewaun      Bell Jr.          H          B           2/17/2012
Jodi        Benedict          H          J           1/5/2006
Jodi        Benedict          A          B           2/27/2008
Karen       Bennett           D          R           4/7/2005
Mary        Bennett           D          T           11/11/2013
Verlesa     Berry             Z          B           4/13/2009
Gina        Berry             E          B           3/16/2012
Gina        Berry             C          B           12/21/2013
Verlesa     Berry             Z          A           11/13/2014
Verlesa     Berry             B          Z           10/6/2016
Tamara      Bibbs             M          M           1/6/2006
Jenna       Biel              J          A           3/17/2011
Jenna       Biel              J          Z           12/9/2012
Alleree     Billings          M          H           7/23/2005
Alleree     Billings          H          H           9/3/2008
David       Bishop            N          B           8/29/2006
Tammi       Bivins            S          F           8/18/2006
Tammi       Bivins            H          J           8/18/2006
Tashina     Black             B          G           1/27/2011
Tashina     Black             G          B           10/14/2014
Carrie      Blaisdell         W          C           11/5/2014
Whitney     Blake             B          M           10/25/2006
Kamala      Blount            K          B           3/25/2005
Kamala      Blount            K          B           3/25/2005

La'Porcha   Blueitt           T          F           7/23/2007

La'Porcha   Blueitt           D          F           4/16/2009
La'Porcha   Blueitt           SJ         L           4/22/2010
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La'Porcha   Blueitt           L          S           3/9/2011
La'Porcha   Blueitt           KJ         J           7/19/2012
La'Porcha   Blueitt           S          S           6/19/2013
La'Porcha   Blueitt           L          S           12/21/2014
DaRiesha    Bobo              J          D           2/27/2011
DaRiesha    Bobo              J          S           11/11/2015
Carli       Bolley            V          A           2/10/2012
Carli       Bolley            A          V           4/17/2013
Monique     Booker            S          E           5/5/2006
Monique     Booker            V          R           9/28/2011
Shirley     Booker            G          R           12/3/2013

Teresa      Boom              K          G           12/14/2009

Teresa      Boom              K          G           2/2/2012

Teresa      Boom              J          G           4/3/2016
Francine    Boone             K          B           4/20/2004
Delandra    Boone             M          B           3/19/2006
Shayla      Boose             L          L           4/4/2009
Shayla      Boose             L          L           7/4/2011

Shayla      Boose             L          B           2/14/2018
Anthony     Bostic            C          B           7/21/2016
Nichole     Bovee             J          K           7/18/2012
Nichole     Bovee             A          K           6/28/2013
Nichole     Bovee             A          G           3/4/2016
Terry       Boven             Z          S           6/28/2007
Amy         Boyd              J          T           9/16/2013
Emerald     Boyd              A          A           7/19/2015
Jessica     Brackins          A          S           9/12/2007
Ashley      Brand             D          J           2/13/2009
Ashley      Brand             G          C           6/30/2010
Ashley      Brand             G          C           6/30/2012
Andre       Brandon           M          A           1/3/2003
Andre       Brandon           M          J           5/25/2004
Jocelyn     Brandon           D          B           6/12/2006
Andre       Brandon           Z          M           1/24/2007
Andre       Brandon           M          J           9/23/2009
Lakresha    Brandon           JJ         G           3/21/2011
Jocelyn     Brandon           B          B           6/13/2013
Lakresha    Brandon           B          J           8/17/2013
Cherese     Bransford         M          B           8/25/2009
Caitlyn     Brennan           P          S           8/22/2013
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Caitlyn      Brennan          C          S           9/16/2014
Tarnisha     Briggs           T          W           7/21/2012
Kirklynn     Briggs           S          E           8/2/2015
Deetta       Bright           J          B           8/10/2003
Deetta       Bright           H          B           10/2/2008
Deetta       Bright           D          B           6/12/2011
Stephanie    Britt            B          B           4/2/2004
Stephanie    Britt            A          B           6/4/2008
Shanai       Britten          B          C           2/13/2008
Dana         Broadnax         B          A           1/14/2004
Janice       Broadnax         J          B           2/20/2007
Joewillie    Broadnax         M          J           8/13/2008
Joewillie    Broadnax         M          J           2/15/2010
Dana         Broadnax         B          C           2/6/2014
Janice       Broadnax         J          B           1/5/2015
Joewillie    Broadnax         J          M           9/27/2015
Chanuwan     Brooks           L          A           4/3/2004
Shaketta     Brooks           F          B           8/18/2014
Clara        Broom            R          P           8/3/2006
Mistie       Broughton        D          M           5/16/2010
Fredrick     Brown            B          S           6/14/2003
Jawanza      Brown            L          B           6/21/2003
Shavonne     Brown            M          T           12/24/2003
Jawanza      Brown            T          B           6/4/2004
Steven       Brown            S          B           7/31/2004
Shavonne     Brown            M          T           4/17/2005
Cherry       Brown            M          B           5/25/2005
Yolanda      Brown            T          B           10/7/2005
Robert       Brown            T          B           11/1/2005
TerriLynn    Brown            M          B           11/28/2005
Antoinette   Brown            EI         T           12/14/2005
Alyssa       Brown            A          B           4/9/2006
Quenna       Brown            A          B           11/2/2006
Robert       Brown            G          E           5/22/2007
Alyssa       Brown            A          B           6/15/2007
Antoinette   Brown            A          T           5/11/2008
Quenna       Brown            B          B           10/8/2008
Tanesha      Brown            J          J           2/12/2009
Antoinette   Brown            J          P           2/12/2009
Cherry       Brown            J          B           3/27/2009
Somoya       Brown            A          T           5/5/2009
Shaniya      Brown            D          W           9/27/2009
Sheimyee     Brown            K          B           7/27/2010
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TerriLynn    Brown            E          W           8/7/2010
Somoya       Brown            B          A           7/12/2011
Antoinette   Brown            T          D           7/26/2011
Tichinay     Brown            T          B           2/21/2012
Yolanda      Brown            J          B           5/10/2012
Antoinette   Brown            J          T           6/7/2012
Tanesha      Brown            T          R           2/26/2013
Yolanda      Brown            J          B           7/20/2013

Cherry       Brown            M          M           7/29/2013
Antoinette   Brown            J          T           1/3/2014
TerriLynn    Brown            L          M           1/6/2014
Renzellous   Brown            U          B           3/10/2014
Porchia      Brown            P          J           8/16/2014
Somoya       Brown            B          V           2/20/2015
Yolanda      Brown            J          B           3/17/2015
Sharell      Brown            G          A           10/16/2015
Sharell      Brown            G          A           10/16/2015
Porchia      Brown            P          J           10/31/2015
Tanesha      Brown            J          B           2/14/2016
Yolanda      Brown            Z          B           1/24/2017
Porchia      Brown            P          J           5/26/2018
Thomas       Brown Sr.        M          B           6/13/2003
Thomas       Brown Sr.        T          B           5/28/2004
Thomas       Brown Sr.        J          B           3/15/2005
Tiffany      Brown-Spencer    B          I           8/4/2003
Tiffany      Brown-Spencer    S          S           2/23/2005
Tiffany      Brown-Spencer    S          Z           2/1/2006
Tiffany      Brown-Spencer    J          S           3/19/2008
Tiffany      Brown-Spencer    K          B           8/9/2011
Shawntele    Browne           C          B           1/24/2009
Shameka      Browne           Z          S           5/16/2009
Shawntele    Browne           B          T           6/24/2013
Monique      Bryant           I          B           7/29/2003
Monique      Bryant           I          M           7/5/2013
Monique      Bryant           R          A           11/29/2016
Bianca       Buchanon         Z          A           8/13/2010
Bianca       Buchanon         D          W           6/14/2013
Shanice      Buchanon         M          W           9/27/2014
Bianca       Buchanon         J          N           2/6/2017
KneKisha     Bunch            P          C           11/6/2003
Amanda       Burgess          D          W           9/20/2003
Amanda       Burgess          M          W           5/29/2005
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Amanda        Burgess         S          C           8/24/2006
Amanda        Burgess         K          B           3/17/2007
Amanda        Burgess         C          W           8/17/2008
Tiffany       Burnett         D          S           7/22/2004
Tiffany       Burnett         D          S           1/5/2007
Laquisha      Burnett         M          J           12/18/2009
Laquisha      Burnett         L          M           6/19/2013
Laquisha      Burnett         AJ         M           4/9/2016
Mawiyah       Burns           K          J           7/2/2005
Shaquesha     Burrell         T          T           10/18/2011
Shaquesha     Burrell         R          B           9/20/2012
Shaquesha     Burrell         D          T           7/9/2014
Shaquesha     Burrell         T          T           6/12/2015
Martina       Burton          K          L           3/27/2007
Quteka        Bush            T          B           11/13/2002
Quteka        Bush            A          B           11/4/2008
Quteka        Bush            G          B           6/23/2011
Quteka        Bush            J          G           10/8/2014
Patricia      Bush-Brown      J          F           2/8/2012
Patricia      Bush-Brown      Z          B           7/9/2015
Christopher   Buzzard         C          R           11/23/2005
Darwin        C Evans         E          D           5/24/2012
Sharonda      Cager           J          B           11/15/2013
Hebony        Caldwell        F          R           4/10/2003
Cynthia       Callaway        C          D           11/15/2013
Cynthia       Callaway        N          R           1/12/2017
Crystal       Callway         B          C           4/4/2014
Debra         Campbell        S          C           4/14/2007
Artis         Campbell        A          C           12/19/2007
Artis         Campbell        M          C           12/19/2007
Jacqueline    Carr            B          C           11/5/2005
Jacqueline    Carr            J          C           10/19/2007
Jacqueline    Carr            B          C           12/5/2008
Jacqueline    Carr            B          C           8/6/2010
Jacqueline    Carr            B          C           7/16/2011
Jacqueline    Carr            J          C           5/8/2015
Kimberly      Carradine       C          T           3/17/2004
Cameron       Carroll         A          C           8/11/2003
Cameron       Carroll         A          N           2/7/2008
Satoria       Carroll         A          C           12/29/2011
Satoria       Carroll         M          U           1/8/2013
Satoria       Carroll         E          W           3/3/2015
Jerry         Carter          M          M           9/1/2005
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Lacey        Case             C           H          10/29/2014
Lacey        Case             R           H          12/6/2015
Cora         Cathey           J           C          4/24/2013
Britnay      Cavazos          B           R          9/30/2007
Britnay      Cavazos          A           H          11/20/2009
Britnay      Cavazos          D           H          8/26/2011
Tinisha      Cephus           C           C          6/25/2004
Tinisha      Cephus           J           C          2/2/2006
Simone       Chambry          M           D          10/10/2002
Simone       Chambry          M           C          4/2/2007
Victoria     Chapman          J           C          10/24/2006
Danielle     Chapman          M           C          12/23/2009
Victoria     Chapman          T           L          4/23/2012
Victoria     Chapman          T           L          7/17/2013
Sarah        Cheeseman        D           C          5/23/2007
Sarah        Cheeseman        A           C          2/5/2010
Sharon       Childress        O           C          4/10/2012
Sharon       Childress        T           C          11/16/2012
Junetta      Christian        N           A          1/16/2009
Junetta      Christian        S           C          3/3/2015
Lanay        Clark            C           A          8/3/2003
Jacquline    Clark            N           C          2/6/2005
Shannon      Clark            M           C          7/10/2006
Jacquline    Clark            A           E          2/28/2007
Shannon      Clark            A           C          7/29/2008
Lanay        Clark            A           C          8/16/2008
Shannon      Clark            J           C          5/11/2014
Lanay        Clark            A           C          6/9/2014
Laloni       Clark            A           C          12/31/2015

Aquielle     Clark            A           MJ         1/12/2016
Taylor       Clary-Genella    A           D          11/4/2012
Taylor       Clary-Genella    A           D          4/11/2014
Taylor       Clary-Genella    P           W          9/14/2015
Taylor       Clary-Genella    A           W          9/29/2017
Alvera       Cobb             A           A          2/23/2004
Alvera       Cobb             JJ          C          9/26/2009
Alvera       Cobb             C           C          6/7/2012
She'a        Cobb             B           S          6/9/2017
She'a        Cobb             B           Z          6/9/2017
Tondalaya    Coffee           M           C          12/26/2006
Tondalaya    Coffee           J           C          5/24/2008
Tondalaya    Coffee           J           T          12/13/2011
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Michael      Cogar             P          W          1/18/2011
Consuelo     Coleman           R          C          12/30/2008
Kanisha      Coleman           W          D          6/3/2009
Vernita      Coleman           B          D          8/17/2009
Consuelo     Coleman           R          C          7/16/2010
Janay        Coleman-Sanders   M          S          8/21/2012
Janay        Coleman-Sanders   J          S          12/31/2014
Lin          Coley             K          L          5/25/2011

Takeia       Collier           C          BJ         10/19/2008
Janaka       Collins           B          V          3/2/2004
Gwendalyn    Collins           C          R          8/14/2004
Janaka       Collins           B          J          10/30/2007
Yolanda      Collins           B          C          4/9/2013
Vincent      Conn              S          T          1/20/2012
Geneva       Cook              S          A          2/28/2011
Geneva       Cook              I          B          11/8/2015
Pertrina     Coolden           B          I          2/18/2004
Pertrina     Coolden           B          M          1/8/2008

Latora       Cooley            M          V          6/28/2012

Latora       Cooley            N          V          5/11/2016
Keyla        Cooper            R          R          9/23/2003
Keyla        Cooper            R          K          9/19/2004
Keyla        Cooper            A          R          9/15/2005
Rabecka      Cordell           D          C          4/15/2010
Alexandria   Corneilius        T          S          7/15/2003
Alexandria   Corneilius        A          B          2/25/2008
Alexandria   Corneilius        M          C          4/24/2012
Iva          Corthion          H          L          6/16/2007
Litricia     Couch             X          T          10/18/2003
Jason        Coulter           A          C          2/23/2003
Jason        Coulter           J          CI         9/4/2004
Jason        Coulter           J          C          10/1/2006
Lonise       Coulter           A          S          3/4/2009
Lonise       Coulter           M          S          8/7/2014
Cherish      Cowan             B          T          7/22/2010
Cherish      Cowan             T          T          10/10/2013
Cherish      Cowan             T          T          5/3/2015
Chantal      Cox               C          D          7/1/2003
Angelique    Crandell          S          K          3/26/2007
Angelique    Crandell          Z          C          9/13/2013
Latricia     Crane             K          C          8/7/2004
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Dessarea     Crayton           D          D          2/24/2010
Stacy        Creed             Z          C          8/1/2007
Stacy        Creed             T          C          2/27/2012
Stacy        Creed             M          C          2/5/2014
Stacy        Creed             M          B          8/27/2015
Terrie       Crockett          J          C          12/25/2004
Terrie       Crockett          N          C          2/4/2010
Shalonda     Crofton           E          B          6/2/2005
Shalonda     Crofton           M          M          11/9/2007
Danyell      Croom             S          C          3/3/2004
Danyell      Croom             Z          S          6/19/2005
Danyell      Croom             M          C          6/10/2006
Danyell      Croom             KJ         G          4/27/2008
Danyell      Croom             D          C          12/4/2009
Leandre      Crosby            A          C          3/25/2005
Leandre      Crosby            T          F          2/27/2007
Leandre      Crosby            J          M          6/10/2009
Leandre      Crosby            A          C          7/29/2012
Leandre      Crosby            M          C          9/4/2015
Onaka        Cross             C          R          5/23/2003
Latoria      Cross             M          L          6/2/2011
Latoria      Cross             A          L          2/4/2015
Irving       Crowder           C          D          12/5/2002
Irving       Crowder           IJ         C          3/20/2006
Irving       Crowder           C          C          6/10/2011
Sawnte       Crudup            Z          S          10/28/2015
Sawnte       Crudup            C          L          7/2/2016
Emma         Cunningham        C          B          7/18/2006
Emma         Cunningham        B          Z          5/27/2007
Emma         Cunningham        A          B          12/8/2008
Sajer        Cureton           S          C          7/3/2006
Jeffrey      Curl              C          J          7/15/2007
Sharonda     Curry             A          C          10/31/2015
Michael      D. Zerka          B          Z          5/13/2003
Stephanie    Danette Bradley   C          C          9/16/2014
Willie       Daniel            D          D          10/22/2003
Chelon       Daniels           S          Q          7/7/2004
Marria       Daniels           D          T          8/10/2005
Chelon       Daniels           SD         J          2/12/2006
Chelon       Daniels           M          S          9/5/2011
Chelon       Daniels           E          S          12/16/2014
Marria       Daniels           A          D          6/30/2015
Marria       Daniels           A          D          6/30/2015
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Shivone       Darby           S           J          8/20/2006
Shivone       Darby           J           D          9/17/2009
Shivone       Darby           N           C          7/22/2013
Shivone       Darby           NI          C          3/12/2015
DunJeanetta   Darling         D           S          2/25/2011
Taraina       Davenport       T           D          6/9/2003
Taraina       Davenport       M           H          6/9/2004
Taraina       Davenport       M           H          4/12/2005
Taraina       Davenport       D           H          8/23/2006
Lisa          Davidson        W           S          12/20/2005
Lisa          Davidson        R           S          10/11/2006
Crystle       Davidson        F           J          6/1/2007
Lisa          Davidson        A           S          10/11/2009
Leondris      Davis           K           D          10/9/2003
Manuel        Davis           A           D          3/22/2004
Chameka       Davis           P           B          9/24/2005
Manuel        Davis           MJ          D          8/1/2006
Chevella      Davis           A           D          8/23/2006
Kishon        Davis           DJ          C          6/15/2007
Di'Anndra     Davis           D           J          6/27/2007
Letisha       Davis           D           D          2/12/2008
Letisha       Davis           J           D          2/12/2008
Willie        Davis           D           D          6/25/2008
Willie        Davis           D           D          6/25/2008
Vanessa       Davis           J           B          10/29/2008
Manuel        Davis           K           C          1/16/2009
Leondris      Davis           N           J          7/26/2009
Derek         Davis           M           A          10/14/2009
Akera         Davis           M           J          7/5/2011
Derek         Davis           A           D          8/3/2011
Kishon        Davis           D           D          1/5/2012
Di'Anndra     Davis           D           J          2/5/2012
Tekisha       Davis           T           H          6/7/2013
Derek         Davis           C           D          6/8/2013
Delores       Davis           D           B          10/12/2014
Akera         Davis           A           M          2/7/2016
Tekisha       Davis           L           H          11/20/2016
Taniya        Dawson          N           M          10/30/2005
Taniya        Dawson          P           K          11/21/2007
Steve         Deloney         S           D          5/15/2003
Steve         Deloney         Z           D          5/23/2004
Tony          Deloney         S           T          11/2/2008
Tony          Deloney         D           R          1/6/2010
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Steve       Deloney          Z           D          9/11/2017
Samantha    Denison          N           T          9/8/2011
Meggan      Deshazer         E           K          12/20/2013
Melanie     Diehl            A           B          7/21/2009

Najah       Dillard          T           D          5/16/2014
Amie        Dinnan           RJ          R          12/3/2003
Krystal     Dismuke          PJ          K          2/17/2009
Krystal     Dismuke          K           P          11/2/2010
Mercades    Dixon            S           G          7/30/2003
Mercades    Dixon            G           L          7/30/2003
Mohamed     Djire            K           F          7/14/2008
Mohamed     Djire            M           D          9/30/2015
Jacqulyn    Douglas          J           M          4/19/2006
Tiffany     Drake            M           L          5/25/2007
Carlos      Duane Sparks     S           C          4/12/2006
DeQuarus    Dudley           D           D          6/21/2010
DeQuarus    Dudley           D           D          11/3/2016
Tia         Duncan           J           D          2/6/2008
Tia         Duncan           J           D          12/12/2016
Tia         Duncan           D           J          1/23/2017
Shameka     Dunlap           K           L          5/7/2003
Shameka     Dunlap           M           D          1/31/2008
Shameka     Dunlap           S           D          3/23/2012

Laqueta     Durrett          A           G          5/13/2003
Laqueta     Durrett          O           D          5/6/2005
Laqueta     Durrett          J           J          1/31/2010
Lawrence    Durrett Jr       D           L          12/5/2008
Alyissa     Dustin           L           F          11/28/2010
Alyissa     Dustin           K           H          9/1/2014
Alyissa     Dustin           K           H          7/23/2015
Alyissa     Dustin           K           H          12/20/2016
Linda       E. Smith         V           N          6/12/2006
Linda       E. Smith         V           N          6/12/2006
Suzan       Early            RI          C          1/3/2003
Suzan       Early            A           E          7/23/2008
Heather     Eastman          E           A          1/21/2012
Shayla      Ecker            S           G          11/12/2013
Edward      Edelen           EI          J          1/30/2004
Edward      Edelen           E           J          1/24/2005
Edward      Edelen           P           E          12/5/2012
Dominysha   Edelen           T           M          11/11/2013
Dominysha   Edelen           J           M          10/23/2015
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Tiffany      Edmonson             K       G          5/29/2013
Mark         Edwards              H       B          5/22/2007
Mark         Edwards              S       E          4/27/2010
Kyna         Edwards              C       G          1/2/2013
Kyna         Edwards              K       G          1/22/2016
Marcetta     Elston               D       R          8/29/2006
KaRon        Elston               J       E          1/24/2007
Amanda       Engelmann            J       W          11/3/2005
Amanda       Engelmann            J       W          9/10/2007
Larica       English              M       E          8/14/2009
Ashley       Estrada              A       E          8/22/2014
April        Eubanks              A       E          11/21/2008
April        Eubanks              A       E          4/11/2011
April        Eubanks              A       E          5/4/2012
April        Eubanks              C       E          9/29/2014
April        Eubanks              C       E          2/3/2018
April        Eubanks              A       E          10/22/2018
Qwedra       Evans                D       B          5/26/2006
Cassandra    Evans                M       E          12/12/2006
Cassandra    Evans                M       E          12/12/2006
Aneisha      Evans                A       F          10/11/2008
Aneisha      Evans                G       F          7/29/2010
Cassandra    Evans                B       E          9/9/2010
Aneisha      Evans                T       E          2/21/2014
Aneisha      Evans                T       E          4/16/2015
Mariam       Fandjalan            D       C          4/9/2004
Mariam       Fandjalan            M       C          9/21/2007
Mariam       Fandjalan            G       F          3/6/2012
Mariam       Fandjalan            M       C          3/16/2012
Jackie       Fells                J       F          12/10/2004
Jackie       Fells                S       F          12/30/2012
Audrey       Ferguson             L       D          12/21/2003
Audrey       Ferguson             L       L          4/6/2005
Audrey       Ferguson             S       L          10/6/2006
Cynthia      Ferguson-Willliams   D       W          3/14/2005
Evreika      Fields               A       S          4/6/2005
Evreika      Fields               J       F          11/15/2011
Evreika      Fields               J       F          3/28/2014
Marquice     Finley               J       F          11/21/2005
Marquice     Finley               M       FJ         11/21/2005
Marquice     Finley               M       F          1/12/2008
Marquice     Finley               M       F          1/12/2010
Marquice     Finley               M       F          9/30/2011
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Marquice     Finley           M           F          11/10/2016
Joyceland    Fisher           P           P          3/7/2003
Unique       Fisher           Q           F          10/6/2010
Tanayah      Fisher           P           W          10/18/2013
Unique       Fisher           D           F          3/18/2014
Unique       Fisher           A           W          9/17/2016
Brandi       Flick            N           V          9/6/2013
Brandi       Flick            Z           V          9/6/2013
Brandi       Flick            A           F          2/2/2015
Brandi       Flick            A           F          3/6/2016
Jerome       Flood            J           P          1/25/2009
LaTasha      Flowers          A           F          10/13/2003
Stephan      Flowers          W           H          3/7/2006
LaTasha      Flowers          A           T          5/9/2008
LaTasha      Flowers          A           W          7/15/2009
Stephan      Flowers          M           F          11/3/2009
LaTasha      Flowers          H           F          6/30/2011
Stephan      Flowers          J           F          11/6/2011
LaTasha      Flowers          H           F          8/29/2012
Stacy        Fluty            L           G          9/10/2010
Stacy        Fluty            R           G          2/19/2012
Sharondra    Foard            K           F          12/3/2011
Sharondra    Foard            K           F          2/20/2013
Sharondra    Foard            K           F          8/7/2014
Sharondra    Foard            K           F          12/26/2015

Lance        Ford             I           J          4/30/2003

Lance        Ford             A           J          6/17/2005
Lance        Ford             LI          F          2/26/2008
Sonceria     Ford             M           F          12/15/2009
Lance        Ford             MI          F          11/12/2012
Robert       Fordham          R           F          8/9/2003
Michael      Fordham          F           C          5/17/2004
Michael      Fordham          F           D          9/16/2007
Michael      Fordham          F           E          3/12/2010
Michael      Fordham          F           F          7/21/2015
Bianca       Forster          S           F          8/16/2005
Bianca       Forster          R           F          1/13/2009
Bianca       Forster          A           B          6/28/2011
Bianca       Forster          J           B          3/6/2015
Alma         Fox              W           V          4/24/2005
Tesha        Frank            T           F          2/22/2005
Tesha        Frank            K           F          10/18/2006
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Tesha        Frank            A           F          11/25/2007
Tesha        Frank            A           J          1/7/2009
Tesha        Frank            T           F          8/21/2010
Kenya        Franklin         Z           B          3/22/2013
Kenya        Franklin         J           F          4/12/2016
Laurie       Frost            S           F          5/30/2004
Kimberly     Frost            G           L          9/28/2013
Kimberly     Frost            C           F          12/8/2014
Marcia       Fryer            D           D          2/18/2012
Kimberly     Gaddy            K           G          7/1/2003

DezRelon     Gaddy            TJ          S          7/10/2014

DezRelon     Gaddy            A           S          5/23/2015

DezRelon     Gaddy            R           S          9/25/2017
Jacobi       Gaines           JJ          G          6/20/2013
Meghan       Galliway         K           F          9/30/2014
Meghan       Galliway         F           L          2/13/2016
Lydia        Gamboa           A           S          6/24/2009
Lydia        Gamboa           A           L          3/12/2011
Lydia        Gamboa           M           K          2/8/2015
Brittnie     Gardner          BI          B          7/30/2004
Brittnie     Gardner          B           B          5/23/2007
Michael      Garland          W           M          3/16/2012
Michael      Garland          J           G          12/23/2012
Michael      Garland          A           G          12/18/2013
Michael      Garland          M           G          4/29/2015
Angela       Garner           Z           C          4/6/2013
Brooke       Garrison         FI          S          12/17/2012
Sharika      Gary             K           GJ         9/17/2008
Sharika      Gary             K           G          10/25/2014
Kenosha      Gatewood         G           Z          12/10/2004
Kenosha      Gatewood         G           D          7/5/2006
Kenosha      Gatewood         G           N          8/31/2008
Kenosha      Gatewood         J           C          3/26/2012
Monica       Geick            S           G          1/22/2004
Jessica      Getter           T           H          1/7/2012
Jessica      Getter           J           G          8/30/2013
Nadia        Gibson           N           G          12/11/2002
Mary         Gibson           D           G          11/11/2008
Nadia        Gibson           J           B          3/11/2009
Nadia        Gibson           J           B          5/25/2010
Mary         Gibson           L           G          9/19/2011
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Sad'e        Gibson           C           G          4/21/2012
Sad'e        Gibson           T           R          7/20/2013
Lisa         Gilbert          G           K          2/20/2003
Shaniquia    Gilbert          G           T          9/17/2007
Shaniquia    Gilbert          G           D          5/2/2009
Shaniquia    Gilbert          G           D          5/2/2010
Shaniquia    Gilbert          D           G          12/7/2011
Shaniquia    Gilbert          D           G          2/19/2013
Daniel       Gill             G           A          9/14/2008
Maresa       Gillespie        M           G          1/16/2006
Robert       Gillespie        R           G          9/1/2006
Marlon       Gillespie        N           G          4/16/2009
Marlon       Gillespie        A           G          1/25/2010

Joesy        Gindlesperger    J           GI         12/14/2012
Anthony      Glen Bowling     B           M          5/25/2006
Anthony      Glen Bowling     B           M          7/4/2007
Pearlena     Glenn            N           C          12/5/2005
Pearlena     Glenn            B           T          6/27/2009
Lakeisha     Glover           J           G          4/13/2005
Erika        Glover           J           H          11/18/2014
Erika        Glover           J           H          12/28/2015
Jessica      Godfrey          JJ          T          12/20/2002
LaJoi        Goff             D           M          2/17/2015
Shalonda     Golden           Z           G          11/8/2013
Justis       Gonzales         L           B          3/24/2014
Alonzo       Goodman          R           A          1/14/2005
Sandra       Goolsby          C           G          10/25/2004
Sandra       Goolsby          S           G          11/15/2005
Sandra       Goolsby          T           G          3/10/2007
Billy        Gorden           S           G          10/14/2002
Billy        Gorden           G           K          1/24/2004
Billy        Gorden           GJ          B          1/4/2005
Billy        Gorden           S           H          4/25/2005
Tracey       Gordon           S           B          2/10/2003
Tracey       Gordon           H           U          12/9/2009
Ricky        Gordon           J           G          8/13/2010
Meshae       Gordon           G           N          4/27/2013
Ricky        Gordon           R           G          6/6/2016
Lindsey      Goss             Z           G          9/21/2005
Lindsey      Goss             Z           C          6/3/2008
Lasoyna      Gossett          Q           H          9/10/2007
Lasoyna      Gossett          G           S          10/6/2008
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Jessica      Grams            A           L          6/1/2007
Jessica      Grams            L           G          6/30/2010
Innica       Grass            T           T          6/8/2009
David        Gray             S           K          10/19/2002
David        Gray             GJ          D          4/26/2006
David        Gray             G           D          12/11/2009
Kacetta      Grear            G           K          6/1/2004
Kacetta      Grear            G           K          6/1/2006
Derisa       Grear            G           M          6/22/2006
Derisa       Grear            PJ          K          12/13/2008
Dewayne      Green            M           J          5/26/2004
Tierika      Green            K           J          12/11/2005

Chereese     Green            B           GW         8/2/2008

Chereese     Green            B           GW         8/2/2008
Chereese     Green            Q           B          12/28/2009
Tierika      Green            O           J          10/15/2010
Dewayne      Green            K           P          9/1/2011
Dominque     Green            D           M          12/19/2011
Tierika      Green            J           F          5/16/2012
KeiArah      Green            E           R          4/5/2014
Carrie       Green            C           B          5/28/2014
Dewayne      Green            P           M          12/25/2015
Tierika      Green            M           G          6/17/2016
Delgarto     Greene           G           J          1/26/2011
Deaisha      Greenlee         G           N          1/9/2003
Deaisha      Greenlee         G           S          10/25/2008
Donna        Greenlick        B           M          9/27/2003
Danjuma      Greer Sr.        D           G          12/20/2005
Danjuma      Greer Sr.        DJ          G          11/4/2006
Langene      Griffin          D           J          9/17/2014
Ali          Griffith         J           L          8/25/2003
Lachandra    Griggs           J           G          12/12/2002
Lachandra    Griggs           A           J          11/12/2003
Nathaniel    Grover           N           G          7/14/2014
Jill         Groves           C           G          9/4/2012
Jill         Groves           A           G          7/7/2015
Hannah       Groves           S           G          2/7/2016

Rosalinda    Guerrero         M           CG         12/22/2013
Rosalinda    Guerrero         R           G          4/27/2017
Mercedes     Guzman           B           M          4/21/2006
Teaonia      Halford          H           S          9/6/2003
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Teaonia      Halford         L           M          3/23/2010
Teaonia      Halford         L           M          2/13/2014
Carl         Hall            C           H          8/7/2007
Tiseema      Hall            H           T          5/27/2008
Tiseema      Hall            T           H          9/9/2009
Tiseema      Hall            T           H          10/31/2009
Ebony        Hall            A           M          7/14/2011
Ebony        Hall            A           M          10/6/2015
shenika      Hamilton        J           H          7/28/2004
Shenika      Hamilton        J           B          12/30/2008
Shaquita     Hamilton        J           H          10/7/2009
Shenika      Hamilton        M           B          4/11/2010
Shaquita     Hamilton        J           F          11/4/2010
Shenika      Hamilton        B           N          5/1/2011
Shaquita     Hamilton        J           C          9/21/2011
Shenika      Hamilton        M           B          4/19/2012
Shenika      Hamilton        S           B          5/29/2013
Shaquita     Hamilton        L           C          10/3/2013
Shenika      Hamilton        K           B          5/19/2014
Ladelia      Hampton         T           H          7/7/2008
Kamilah      Hampton         K           H          5/15/2012
Kamilah      Hampton         K           H          5/15/2012
Crystal      Handley         E           F          7/3/2003
Crystal      Handley         E           F          7/9/2004
Crystal      Handley         E           F          1/27/2006
Tatyonna     Handley         TJ          M          1/30/2015
Misti        Hanna           J           Y          5/3/2011
Gardell      Haralson        H           A          9/5/2015
Totiona      Hardaway        R           H          5/8/2012
Totiona      Hardaway        A           H          1/10/2015
Darlene      Harden          B           H          1/10/2013
Lisa         Harman          H           M          7/20/2011
Shemica      Harper          M           K          6/28/2004
Shemica      Harper          H           S          8/24/2007
Raushawnda   Harper          M           M          4/5/2012
Raushawnda   Harper          M           M          4/29/2015
Raushawnda   Harper          M           M          1/10/2017
Robert       Harris          RJ          H          8/27/2004
Robert       Harris          P           B          6/2/2007
Robert       Harris          R           H          6/10/2013
Robert       Harris          H           R          9/29/2014
Robert       Harris          R           H          3/24/2017
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Gregory      Harrison          S          K          4/1/2010
Reekila      Harrison-Dudley   R          K          12/13/2013
Katrina      Hart              K          H          12/17/2009
Kyla         Hart              K          H          8/18/2016
Shannon      Hatfield          N          H          2/3/2005
Tony         Haywood           C          H          12/19/2002

Shaquilla    Hearns            M          H          1/5/2012

Shaquilla    Hearns            K          H          12/3/2013
Shaquilla    Hearns            H          S          7/18/2016
Amber        Heilig            T          S          2/3/2005
Amber        Heilig            P          S          4/9/2007
Amber        Heilig            H          E          7/23/2012
Amber        Heilig            E          H          1/21/2014
Okneea       Hellems           E          H          3/2/2013
Okneea       Hellems           E          H          1/7/2015

Okneea       Hellems           E          H          12/28/2015
Jessica      Helms             D          H          12/20/2005
Bradley      Helms             B          H          10/15/2007
Jamie        Heltzel           A          B          10/19/2010
Jamie        Heltzel           A          G          11/11/2013
Jamie        Heltzel           O          H          10/17/2014
Shakeisha    Herbert           M          D          2/22/2004
Shakeisha    Herbert           J          M          1/21/2009
Charnita     Herron            H          L          1/28/2010
Sarah        Hester            P          I          12/5/2007
Julius       Hester            H          A          11/6/2009
Sarah        Hester            H          D          12/6/2013
Trisha       Hill              W          W          6/30/2003
Alma         Hill              M          J          6/14/2005
Trisha       Hill              H          X          1/22/2008
Alma         Hill              P          T          1/5/2009
Catiera      Hill              F          C          3/26/2009
Trisha       Hill              J          H          10/9/2009
Trisha       Hill              H          J          10/9/2009
Talita       Hill              C          M          6/11/2011
Alma         Hill              H          E          9/9/2013
Talita       Hill              D          M          8/5/2015
Catiera      Hill              F          C          9/6/2015
Lawana       Hillard           RI         M          11/29/2003
Lawana       Hillard           T          M          10/10/2004
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Lawana       Hillard          T           B          10/23/2007
Lawana       Hillard          A           L          6/17/2014
Mariah       Hilliard         N           H          4/3/2013
Ryan         Hodgins          C           H          12/22/2010
Kimberly     Hoffman          H           E          8/27/2003
Kimberly     Hoffman          H           J          6/3/2005
Rotika       Holiday          A           W          10/3/2007
Rotika       Holiday          L           W          6/16/2011
Rotika       Holiday          J           W          12/31/2015
Kevin        Holland          E           N          9/3/2008
Annette      Hollins          A           H          5/27/2005
Annette      Hollins          A           H          11/14/2010
Annette      Hollins          L           W          5/2/2014

Brenda       Holmes           M           H          8/19/2005
Donna        Holmes           E           H          1/29/2007
Donna        Holmes           J           H          2/12/2008
Brenda       Holmes           I           G          6/5/2008
Kanisha      Holmes           D           S          10/18/2012
Matangela    Hopkins          M           S          8/9/2010
Sheila       Hopkins          SCH         S          12/12/2016
Jessica      Horne            R           E          10/7/2005
Jessica      Horne            BJ          D          12/21/2009
Samara       Horne            E           T          2/17/2011
Jessica      Horne            T           B          1/31/2012
Jessica      Horne            A           H          1/8/2013
Samara       Horne            Y           A          2/17/2013
Jessica      Horne            H           H          9/10/2014
Samara       Horne            A           Y          4/10/2016
Genise       Horton           D           S          8/11/2011
Keith        Horton           K           H          5/26/2012

Keith        Horton           K           C          12/29/2013
Kenyrda      Houston          K           H          7/7/2005
Shareka      Howard           P           H          4/3/2009
Roshania     Howard           B           S          9/15/2010
Shareka      Howard           MI          H          9/4/2011
Mary         Howe             A           B          5/19/2010
Mary         Howe             L           B          12/28/2012
Mary         Howe             M           H          10/26/2017
Charley      Howell           F           G          2/9/2004
Taffiney     Howell           B           H          5/27/2005
Charley      Howell           R           W          6/1/2005
Taffiney     Howell           A           H          6/15/2006
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Taffiney    Howell           J           K          3/18/2008
Charley     Howell           W           A          6/29/2008
Zwena       Hughes           D           H          1/12/2006
Crystal     Hull             N           S          12/10/2009
Sandra      Hull             C           F          3/19/2010
Crystal     Hull             J           J          2/9/2011
Crystal     Hull             N           S          12/9/2011
Tyrone      Hunter           T           H          3/29/2003
Angela      Hunter           Z           H          8/4/2005
Angela      Hunter           L           H          8/7/2006
Angela      Hunter           S           H          2/22/2008
Latasha     Hunter           H           H          11/15/2008
Timothy     Hunter           S           J          3/10/2009
Latasha     Hunter           L           H          3/12/2010
Timothy     Hunter           C           H          2/10/2015
Rex         Huntley          A           H          9/20/2006
Shantée     Huntley          W           I          10/26/2010
Rex         Huntley          S           H          1/26/2011
Shantée     Huntley          L           R          8/25/2014
Sasha       Hurst            DJ          H          2/15/2012
Sasha       Hurst            Z           H          8/21/2013
Jennifer    Husocki          MJ          S          12/17/2010
Dekecia     Hutchins         J           H          11/18/2009
Yolanda     Ibarra           N           C          9/15/2005
Yolanda     Ibarra           T           D          5/29/2007
Emily       Ingram           E           L          1/8/2007
Emily       Ingram           E           L          4/16/2008
Woodrow     Ingram Jr.       Q           I          5/24/2004
Jesse       Irvin            J           I          3/1/2016
Osheonna    Ivey             A           N          5/30/2015
Creola      Ivy              D           I          10/28/2005
Kristy      Jackson          O           C          10/10/2002
Lakisha     Jackson          W           O          11/13/2002
Anthony     Jackson          B           E          1/3/2003
Travis      Jackson          J           K          8/5/2004
Markita     Jackson          M           B          12/22/2004
Evelyn      Jackson          RJ          C          4/29/2006
Markita     Jackson          N           A          8/5/2006
Anthony     Jackson          J           A          11/17/2009
Anthony     Jackson          J           A          4/27/2011
Brenda      Jackson          A           E          4/10/2012
Brenda      Jackson          J           J          6/9/2012
Markita     Jackson          K           T          8/31/2012
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Jolynn       Jackson          B           J          12/11/2012
Lakisha      Jackson          J           J          2/6/2014
Travis       Jackson          J           T          11/18/2014
Jolynn       Jackson          J           L          1/18/2015

Janaisia     Jackson          I           J          8/22/2015
Markita      Jackson          Z           D          10/22/2016
Jameela      James            Z           T          2/15/2005
Deva         James            WJ          A          6/23/2006
Jameela      James            A           H          2/23/2010
Erika        Jenkins          A           J          7/26/2004
Erika        Jenkins          J           J          1/22/2007

Alexsis      Jenkins          J           J          4/2/2009
Keri         Jo Wells         J           W          9/28/2009
Keri         Jo Wells         M           W          11/29/2010
Kimberly     Johns            T           J          2/1/2004
Kimberly     Johns            T           J          3/18/2014
Sharonda     Johnson          J           S          1/13/2003
Evett        Johnson          I           J          4/25/2003
Candy        Johnson          M           J          8/23/2003
Darrick      Johnson          J           A          4/21/2004
Evett        Johnson          T           J          6/30/2004
Candy        Johnson          M           J          7/29/2004
Lonnie       Johnson          C           T          9/7/2005
Latasha      Johnson          J           T          2/23/2006
Lonnie       Johnson          LJ          J          2/27/2008
Jacrisha     Johnson          R           T          11/22/2008
Jessica      Johnson          J           Y          5/10/2010
Sharonda     Johnson          S           J          10/4/2010
ChanTelle    Johnson          D           D          11/29/2010
Kecia        Johnson          M           W          12/24/2010
Lonnie       Johnson          J           A          3/7/2011
Starr        Johnson          H           D          4/3/2011
Darrick      Johnson          K           J          4/24/2012
Candy        Johnson          G           K          4/27/2012

Jacrisha     Johnson          S           G          8/21/2012

Starr        Johnson          C           S          10/5/2012

Merrill      Johnson          C           M          11/28/2012
Jessica      Johnson          J           N          12/31/2012
Kecia        Johnson          Z           W          3/23/2013
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Starr        Johnson          C           S          8/18/2013
Jacrisha     Johnson          K           J          11/18/2014
Kecia        Johnson          M           R          1/28/2015
Latoya       Johnson          L           F          11/13/2015
Candy        Johnson          G           K          6/11/2016
Sheila       Johnson-Toins    M           T          9/22/2003
Takeya       Jolly            A           B          6/28/2007
Takeya       Jolly            M           J          11/21/2008
Takeya       Jolly            K           M          5/1/2010
Takeya       Jolly            J           M          2/18/2015
Kokeeta      Jones            H           T          2/15/2004
Jaquielle    Jones            J           W          6/1/2004
Christina    Jones            Z           J          10/26/2004
Valarie      Jones            C           J          12/1/2005
Brenda       Jones            P           A          2/28/2006
Ebonie       Jones            T           R          8/24/2006
Ebonie       Jones            T           W          8/24/2006
Chalonda     Jones            J           J          9/16/2006
Shaiketa     Jones            D           J          10/18/2007
Chalonda     Jones            J           C          7/15/2008
Brenda       Jones            A           J          6/6/2009
Jaquielle    Jones            F           W          9/12/2009
Juana        Jones            A           J          11/4/2009
Juana        Jones            A           J          11/4/2009
Jaquielle    Jones            A           W          3/14/2011
Chalonda     Jones            J           J          3/21/2011
Brenda       Jones            B           J          7/26/2011
Keayana      Jones            J           G          11/23/2011
Valarie      Jones            A           J          8/7/2012
Jaquielle    Jones            T           W          10/26/2012
Chalonda     Jones            M           L          6/5/2013
Christina    Jones            B           J          10/15/2013
Jaquielle    Jones            A           W          12/24/2013
Keayana      Jones            L           J          4/15/2014
Lula         Jones            K           J          11/18/2014
Shaiketa     Jones            T           B          9/10/2015
Toyanna      Jones            J           J          2/29/2016
Nicolette    Jordan           J           S          6/10/2010
Nicolette    Jordan           J           S          2/19/2012
Nicolette    Jordan           J           S          5/2/2013
Nicolette    Jordan           A           P          3/3/2014
Lakia        Jourdan          J           M          5/8/2006
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Lakia        Jourdan          J           J          1/7/2013
Lakia        Jourdan          J           M          1/5/2017
Frank        Julius Horky     R           H          7/14/2013
Danielle     Kabel            K           A          5/1/2016
Cyeenah      Kalimah          K           C          2/1/2006
Cyeenah      Kalimah          A           W          5/16/2008
Cyeenah      Kalimah          A           N          6/30/2009
Cyeenah      Kalimah          A           N          2/18/2016
Melissa      Kelly            J           M          3/2/2014
Ashley       Kemp             J           K          11/25/2011
Ashley       Kemp             M           K          5/6/2013
Ashley       Kemp             M           K          10/17/2017
Quadrina     Kendall          A           K          5/7/2015
Quadrina     Kendall          GJ          K          1/31/2017
Bridget      Kennedy          D           D          1/18/2012
Gabrielle    Kent             G           W          2/23/2011
Gabrielle    Kent             E           W          12/8/2014
Erik         Keskes           B           K          6/9/2007
Erik         Keskes           C           K          10/22/2010
Kiara        Key              T           F          8/24/2013
Kiara        Key              K           F          6/7/2015
Zaquesha     Keyes            C           K          11/4/2009
Christine    Keyes            H           L          8/9/2010
Tylanuel     Keyes            A           K          10/26/2014
Tyree        Keyes            A           K          4/18/2015
Delano       Kidd             JJ          A          7/2/2004
Nadia        Kidd             J           K          10/25/2005
Delano       Kidd             KS          A          8/27/2010
Demetria     Killin           J           K          7/28/2012
Demetria     Killin           J           D          6/28/2015
Madison      Kilpatrick       A           M          5/3/2017
Laura        Kindle           J           W          3/28/2012
Laura        King             H           K          12/29/2002
Audra        King             K           U          6/17/2006
Laura        King             N           C          3/4/2009
Racheal      Kirksey          D           K          7/9/2009
Racheal      Kirksey          M           K          11/15/2012
Lamara       Kline            K           K          2/2/2005
Lamara       Kline            A           S          9/26/2006
Joyce        Kline            E           S          10/27/2008
LaRenda      Knapp            J           H          8/14/2006
Johnny       Knott            J           K          9/2/2014
Johnny       Knott            K           K          6/4/2017
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Tashina      Kowalski         T           B          10/29/2013
Tashina      Kowalski         T           S          8/10/2015

Nadine       Kuban            N           K          11/4/2009

Nadine       Kuban            A           K          6/30/2011
Alicia       Kuykendall       S           C          11/22/2009
Alicia       Kuykendall       S           C          12/22/2010

Orlondra     L Todd           C           S          11/4/2013
Orlondra     L Todd           J           S          11/23/2016
Russell      Lane             AJ          G          4/5/2017
Tiana        Lankford         A           B          2/19/2013
Tiana        Lankford         C           B          2/6/2014
Whitney      LaRock           J           H          9/20/2004
Whitney      LaRock           G           L          6/7/2012
Summer       LaRose           N           L          5/27/2012
Tamika       Laster           T           B          3/24/2004
Tamika       Laster           B           T          11/6/2008
Deondre      Laster Sr.       DJ          L          8/30/2003
Deondre      Laster Sr.       N           M          11/8/2007
Deondre      Laster Sr.       K           L          2/7/2011
Deondre      Laster Sr.       K           L          3/18/2014
Deondre      Laster Sr.       K           L          1/30/2017
Andriana     Latchaw          J           L          2/6/2014
LaTonya      Laury            J           G          6/20/2013
Bianca       Lavender         R           T          12/28/2010
Bianca       Lavender         K           T          2/5/2012
Bianca       Lavender         G           J          2/17/2015
Bianca       Lavender         T           K          12/24/2015
Crystal      Law              N           T          10/16/2008
Antanika     Lawal            S           K          11/14/2004
Antanika     Lawal            L           Z          5/31/2007
Jasmine      Lawler           L           W          10/14/2008
Jasmine      Lawler           J           W          7/15/2009
Jasmine      Lawler           J           W          7/15/2009
Jasmine      Lawler           J           W          3/1/2011
Jasmine      Lawler           J           W          8/2/2012
Sharonda     Lawrence         L           D          2/15/2008
Sharonda     Lawrence         J           A          1/31/2013
Teila        Lawson           C           L          8/1/2003
Teila        Lawson           L           L          10/7/2009
Teila        Lawson           J           R          8/7/2010
Heather      Lay Marve        N           L          8/12/2010
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Tiarra       Lee              M           M          6/12/2008
Tiarra       Lee              L           M          5/11/2013
Tiarra       Lee              M           L          6/10/2015
Jimmie       Lee Scruggs      K           T          6/1/2007
Jimmie       Lee Scruggs      J           S          10/17/2014
John         Lee Webb         W           J          8/5/2003
Christina    LeGrand          L           T          5/14/2008
Justine      Leibing          A           K          12/7/2014
Thomas       Leonard          H           N          8/15/2007
Thomas       Leonard          H           M          4/27/2008
Thomas       Leonard          B           C          9/9/2013
Thomas       Leonard          B           S          5/9/2014
Melissa      Lewis            L           S          7/15/2009
Tyrisha      Lewis            L           E          11/22/2009
Brittney     Lewis            R           B          3/24/2010
Tyrisha      Lewis            E           K          5/7/2011
Melissa      Lewis            S           S          6/27/2011
Brittney     Lewis            T           W          12/30/2012
Chereeka     Lewis            L           P          1/18/2014
Salina       Liggins          R           L          4/20/2006
Anchina      Lintz            J           L          2/15/2015
Alicia       Little           O           B          8/6/2006
Alicia       Little           J           D          7/26/2009
Marcella     Littlejohn       D           T          6/7/2010
Marcella     Littlejohn       L           P          12/10/2011
Monica       Loomis           J           S          7/9/2006
Monica       Loomis           S           S          4/12/2009
Monica       Loomis           J           Y          1/13/2013
Monica       Loomis           S           Y          9/27/2014
Patrick      Lopez            S           HL         10/10/2008
Crystal      Lopp             C           L          8/21/2012
Tammy        Loren            A           P          8/25/2003
Tammy        Loren            D           L          8/4/2004
Tammy        Loren            E           L          7/13/2005
Amanda       Lorick           S           T          10/6/2007
Amanda       Lorick           D           L          2/11/2014
Michael      Love             L           M          6/6/2006
Michael      Love             L           I          7/13/2007
Michael      Love             R           L          5/1/2009
Michael      Love             L           I          9/22/2010
Michael      Love             L           S          11/4/2011
Keaira       Love             W           L          9/6/2014
Talisha      Lovett           G           L          10/28/2002
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Talisha      Lovett           A           L          6/25/2004
Talisha      Lovett           A           L          6/28/2005
Talisha      Lovett           A           L          4/9/2009
Talisha      Lovett           C           L          5/7/2010
Talisha      Lovett           M           L          5/14/2014
Talisha      Lovett           E           L          8/12/2015

Andrea       Loyd             D           L          8/18/2011
Sandra       LuSane           S           L          6/23/2005
Sandra       LuSane           S           L          6/23/2005
Sandra       LuSane           S           L          8/9/2011
Michael      Lyle             L           C          4/5/2015
Shavon       Lynn             C           D          4/1/2009
Shavon       Lynn             T           C          8/19/2011
Shavon       Lynn             R           J          3/21/2014
Dawn         M. Scott         S           B          3/25/2005
Stephanie    Macon            S           W          3/23/2004
Stephanie    Macon            D           M          2/11/2005
Sha'coria    Macon            J           W          12/19/2011
Hollie       Maguire          L           M          4/7/2005
Taliah       Malik            MC          J          10/23/2014
Taliah       Malik            MC          J          11/7/2016
TaQuita      Malloy           J           M          8/26/2003
Dashawn      Malone           M           A          5/30/2013
Bridgette    Mancour          N           C          5/2/2003
Bridgette    Mancour          J           C          8/20/2004
Bridgette    Mancour          I           C          11/14/2006
Bridgette    Mancour          S           C          10/22/2007
Bridgette    Mancour          C           C          11/21/2008
Shannon      Manning          C           M          12/19/2002
Alisha       Manning          M           J          2/3/2005
Alisha       Manning          D           B          1/6/2006
Shannon      Manning          S           B          7/11/2009
Alisha       Manning          M           J          8/12/2009
Shannon      Manning          T           M          6/25/2010
Shannon      Manning          J           M          1/30/2013
Deidra       Mansfield        L           M          6/10/2003
Deidra       Mansfield        M           H          2/15/2009
Deidra       Mansfield        LJ          S          12/17/2011
Deidra       Mansfield        E           S          10/13/2013
AnDrea       Manuel           A           K          7/12/2012
Adrianna     Marks            J           R          8/29/2011
Adrianna     Marks            K           B          7/22/2015
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Deshna         Marshall       M           S          9/23/2008
Dayquichiesa   Martin         D           J          3/13/2004
Laquisha       Martin         S           M          4/3/2004
Katrine        Martin         S           W          8/16/2004
Dayquichiesa   Martin         D           J          2/7/2006
Katrine        Martin         W           D          3/25/2007
Suquondra      Martin         M           K          7/29/2007
Dayquichiesa   Martin         D           W          8/18/2008
Suquondra      Martin         M           M          8/23/2008
Joline         Martin         E           P          6/2/2009
Katrine        Martin         W           S          7/24/2009
Katrine        Martin         D           P          7/1/2012
Dayquichiesa   Martin         M           D          7/5/2013
Katrine        Martin         M           P          12/17/2014
Michael        Martinez       A           M          2/2/2012
Michael        Martinez       J           M          1/18/2015
Sonya          Mason          N           M          10/18/2002
Temetrese      Massey         R           D          4/21/2015
Dayna          Mater          D           M          7/18/2009
Teri           Matthess       J           D          10/6/2010
Teri           Matthess       L           D          10/24/2013
Robert         Matthews       D           M          10/17/2006
Jessica        Matthews       G           D          11/21/2007
Shambria       Mayers         M           S          5/9/2014
Ceia           Mays           A           K          10/28/2007
Teela          Mays           K           B          10/23/2010
Moneke         Mayweather     S           R          3/9/2011
Anton          McBride        A           M          10/15/2004
Anton          McBride        K           M          5/23/2007
Cindi          McBroom        P           G          12/17/2004
Alex           McCarty        H           W          12/29/2014
Gabrielle      McClain        K           W          5/29/2013
Gabrielle      McClain        K           W          5/20/2014
Jada           McClain        D           W          6/12/2014
Melissa        McCovery       M           J          9/23/2004
Ethal          McCovery       K           W          1/11/2006
Ethal          McCovery       N           L          11/8/2007
Melissa        McCovery       C           D          10/14/2009
Melissa        McCovery       L           M          12/20/2011
Victoria       McCree         I           C          1/25/2005
Porscha        McCullough     J           N          1/19/2011
Porscha        McCullough     D           B          6/15/2016
Pamela         McDaniel       T           S          2/12/2003
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Jeneyah     McDonald         J           M          3/24/2009
Jeneyah     McDonald         J           M          9/10/2013
Jeremy      McDowell         J           M          7/23/2006
Jeremy      McDowell         M           J          7/16/2008
Jeremy      McDowell         M           J          2/5/2011
Duane       McFadden         D           J          10/31/2003
Annyonne    McGee            C           M          5/28/2011
Monica      McGee            M           M          4/11/2013
Eugene      McGee Jr         MI          E          1/4/2017
Amanda      McGrath          M           S          5/15/2008
Amanda      McGrath          M           D          6/4/2009
Porsche     McGuire          M           J          1/4/2008
Porsche     McGuire          W           E          3/17/2010
Porsche     McGuire          VB          C          1/10/2012
Porsche     McGuire          G           C          6/12/2013
Tracey      McLaurin         D           M          11/6/2007
Rodnesha    McLaurin         B           A          11/19/2015
Quaninsha   McNeal           A           W          1/10/2012
Quaninsha   McNeal           M           A          10/5/2015
Monica      Medrano          M           W          3/1/2014
Aasiyah     Meeks            A           M          2/10/2013
Tracy       Messenger        R           M          8/21/2003
Tracy       Messenger        J           M          8/15/2005
Stenisha    Metcalf          K           M          8/31/2005
Stenisha    Metcalf          C           M          2/1/2008
Brittany    Michaud          A           M          2/10/2008
Brittany    Michaud          A           M          7/8/2010
Brittany    Michaud          A           K          4/12/2013
Brittany    Michaud          A           K          7/3/2015
Shaniece    Mickens          J           H          1/21/2012
Gabrielle   Miguel           A           M          6/13/2006
Gabrielle   Miguel           J           M          4/8/2009
Gabrielle   Miguel           J           M          10/6/2011
Gabrielle   Miguel           M           M          1/2/2013
Gabrielle   Miguel           M           J          7/27/2015
Kizzy       Miles            H           K          2/25/2005
Nina        Miles            A           T          6/27/2008
Ramonda     Miller           M           J          4/16/2004
Erica       Miller           J           M          3/10/2005
Carrie      Miller           M           L          5/28/2006
Erica       Miller           J           M          10/21/2007
Summer      Miller           A           M          3/14/2008
Lawrence    Miller           M           J          1/9/2010
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Tynice       Miller           S           J          11/12/2011
Sherona      Miller           T           W          3/12/2012
Erica        Miller           J           M          10/25/2012
Demita       Miller           M           D          2/13/2013
Destini      Miller           A           A          4/9/2014
Demita       Miller           M           J          7/16/2014
Summer       Miller           A           S          10/23/2015
Tynice       Miller           J           J          5/17/2016
Destini      Miller           A           A          7/31/2017
Barbara      Mitchell         C           B          8/23/2013
Narvell      Moffett          M           M          6/4/2013
Aleantra     Montgomery       WJ          W          2/7/2003
Aleantra     Montgomery       B           M          10/5/2005

Ciara        Montgomery       Z           M          1/26/2010

Ciara        Montgomery       R           M          6/11/2011
Nina         Moore            T           W          12/9/2002
Eric         Moore            R           M          11/5/2003
Daniya       Moore            A           F          1/19/2005
Daniya       Moore            N           F          10/11/2006
Daniya       Moore            M           K          10/11/2006
Amy          Moore            S           T          5/20/2009
Keri         Moore            S           A          1/27/2012
Amy          Moore            L           N          7/21/2012
Eric         Moore            MM          E          8/26/2012
Daniya       Moore            D           C          2/13/2013
Keri         Moore            O           L          2/19/2014
Daniya       Moore            A           D          7/6/2014
Raymond      Moore Jr.        B           M          3/12/2014
Nicolas      Morales          D           M          5/8/2004
Nicolas      Morales          D           M          4/10/2005
Nicolas      Morales          A           M          8/9/2006
Laquisha     Morgan           L           M          11/13/2002
Tawanna      Morgan           Z           M          11/6/2003
Karen        Morgan           A           M          1/26/2004
Tawanna      Morgan           N           J          4/3/2006
Kyrie        Morgan           B           Z          11/30/2007
Karen        Morgan           A           M          3/1/2008
Laquisha     Morgan           N           M          4/29/2008
Karen        Morgan           S           A          4/10/2009
Laquisha     Morgan           J           D          4/7/2011
Kyrie        Morgan           L           E          7/5/2013
Talieka      Morgan           Q           P          4/24/2016
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Alicia      Morreau          L           H          2/17/2014
Joel        Morris           L           M          9/8/2004
Kiesha      Morris           T           E          11/18/2005
Joel        Morris           M           L          12/28/2006
Kiesha      Morris           J           H          8/7/2008
Joel        Morris           L           M          3/15/2009
Joel        Morris           L           M          3/25/2011
Kiesha      Morris           H           K          12/4/2013
Joel        Morris           LI          A          1/6/2014
William     Mosley           M           M          10/7/2009
William     Mosley           W           M          6/4/2011
Ashley      Mosley           A           T          4/10/2012
William     Mosley           A           M          3/29/2013
Ashley      Mosley           A           H          9/1/2014
Randy       Moss             M           V          5/22/2012
Randy       Moss             J           M          3/25/2016
Randy       Moss             R           M          4/13/2016
Robin       Moton-Raheeq     K           H          6/12/2005
Robin       Moton-Raheeq     S           H          9/23/2009
Julous      Moye             A           M          4/6/2017
Carice      Moye-Briggs      J           M          7/16/2005
Carice      Moye-Briggs      A           J          4/24/2009
Carice      Moye-Briggs      W           E          10/27/2011
Carice      Moye-Briggs      E           W          9/17/2014
Carice      Moye-Briggs      J           B          10/29/2014
Carice      Moye-Briggs      J           B          9/8/2015
Carice      Moye-Briggs      C           B          6/28/2017
Sarah       Mulholland       M           L          3/3/2012
Mynette     Mull             S           M          4/15/2006
Ashley      Murdaugh         J           M          4/21/2004
Ashley      Murdaugh         L           M          12/29/2005
Sheandra    Nance            M           N          6/6/2014
Asha        Napier           A           T          9/20/2015
LaQuanda    Neal             T           C          2/3/2004
LaQuanda    Neal             D           P          9/9/2009
LaQuanda    Neal             D           P          12/27/2010
LaQuanda    Neal             M           P          11/30/2018
Cary        Neeley           N           A          2/22/2005
Cerone      Neely            A           N          12/3/2004
Jaquita     Nelson           B           Q          7/12/2003
Jaquita     Nelson           R           B          7/6/2006
Tiffany     Nelson           K           N          2/5/2012
Cecilia     Nelson           C           K          6/22/2013
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Sade         Nelson           A           N          6/23/2016
Stephanie    Nettles          N           D          12/7/2002
Stephanie    Nettles          J           G          6/23/2011
SheDonn      Newell           A           B          2/19/2016
Purcessine   Nichols          C           Z          5/28/2007
Purcessine   Nichols          C           Z          2/5/2009
Purcessine   Nichols          Z           C          5/13/2011
Purcessine   Nichols          Z           C          6/14/2012
Purcessine   Nichols          C           Z          5/11/2013
Purcessine   Nichols          Z           C          1/21/2015
Erin         Nord             C           J          9/10/2008
Dayna        Norton           S           C          9/27/2010
Andre        O'Daniel Jr      O           S          12/10/2008
Andre        O'Daniel Jr      D           T          5/30/2013
Dominique    O'Neal           A           G          10/17/2011
Dominique    O'Neal           D           G          2/3/2013
Napolean     Odom             O           O          11/13/2014
Napolean     Odom             Q           O          10/1/2013
Shelby       Offord           N           S          12/13/2003
Shelby       Offord           C           S          1/13/2005
Shelby       Offord           S           N          10/22/2006
Shelby       Offord           J           K          1/6/2007
Shelby       Offord           K           S          9/24/2014
Mitaya       Ogburn           T           R          2/17/2015
Matthew      Oliveto          O           E          1/6/2015

Crystal      Ollie            J           W          12/8/2010
Stephanie    Ollie            O           C          5/20/2015
Breona       Oney             A           W          3/19/2015
Shana        Orso             K           K          11/29/2004
Shana        Orso             W           B          5/2/2013
Shana        Orso             N           B          4/27/2015
Tasha        Osborne          T           O          3/11/2003
Kierra       Oudenago         O           M          4/30/2007
Kierra       Oudenago         O           M          7/21/2014
Janika       Owens            Z           M          9/28/2007
Janika       Owens            D           S          8/11/2015

Cortney      Paige            E           P          1/10/2009
Cortney      Paige            L           C          10/3/2012
Cortney      Paige            Z           C          5/29/2015
Sherry       Palmatier        L           P          4/4/2003
Sherry       Palmatier        E           P          6/20/2005
Micah        Parker           M           P          11/14/2002
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Danielle     Parker           S           A          3/1/2003
Danielle     Parker           S           S          9/4/2005
Danielle     Parker           D           O          6/10/2013
Danielle     Parker           M           O          7/30/2014
Tiffany      Parsons          O           M          6/27/2004
Tiffany      Parsons          V           M          5/8/2007
Noah         Patton           NJ          P          11/5/2007
Noah         Patton           C           P          1/29/2009
Alisha       Patton           T           P          2/27/2009
Noah         Patton           M           P          3/27/2013
Sirrita      Payne            J           P          7/31/2016
Sirrita      Payne            M           R          2/5/2018
Demetria     Payton           M           C          3/17/2006
Shanay       Payton           K           P          5/21/2008
Shanay       Payton           S           P          9/28/2009
Shanay       Payton           AJ          F          4/24/2017
Shanay       Payton           C           F          4/12/2018
Gatora       Peeples          A           C          2/6/2015
Gatora       Peeples          A           C          12/6/2016
Michael      Penn             P           M          2/26/2007
David        Penn             L           P          12/20/2015
Tiara        Peoples          P           H          8/10/2012
Jessica      Peppler          J           P          1/19/2010
Naomie       Perry            W           P          12/28/2003
Jeanette     Perry            D           T          4/17/2007
Naomie       Perry            M           P          6/13/2007
Barbara      Perry            M           W          7/6/2008
Jeanette     Perry            C           T          9/20/2011
Jeanette     Perry            C           T          10/4/2012
Jeanette     Perry            C           T          7/9/2013
Gloria       Perry-Walker     J           P          5/18/2012

Gloria       Perry-Walker     J           H          3/25/2013

Gloria       Perry-Walker     A           T          12/20/2015
Daniel       Perryman         N           R          9/13/2004
Abony        Person           N           P          11/29/2004
Robin        Person           J           W          5/9/2008
Robin        Person           A           T          6/23/2014
Robin        Person           A           T          6/23/2014
Alexandria   Philpots         M           M          12/1/2011
Derek        Pickens          A           P          11/13/2012
Maria        Pina             A           G          11/3/2003
Jessica      Pintacura        K           J          11/10/2008
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Jessica      Pintacura         FJ         J          9/7/2009
Jessica      Pintacura         I          J          7/17/2013
Kenyun       Pittman           P          P          8/29/2008
Lashari      Pitts             M          P          11/26/2003
Lashari      Pitts             A          P          1/28/2006
Lashari      Pitts             P          E          4/9/2008
Lashari      Pitts             A          P          4/9/2008
Lashari      Pitts             A          J          3/12/2011
Monica       Pointer           A          P          3/18/2003

Sheila       Pollard           N          J          5/4/2005
Sheila       Pollard           D          P          3/31/2007

Sheila       Pollard           J          P          3/9/2012
Sheila       Pollard           T          E          11/3/2015

Shawnette    Poole             C          P          1/11/2005
Shawnette    Poole             A          G          4/29/2009
Shawnette    Poole             S          P          11/26/2017
Vivian       Pope              J          J          2/15/2007
Vivian       Pope              G          J          3/6/2010
Carron       Powell            J          P          5/18/2008
Carylynn     Prescott          S          A          1/29/2007
Carylynn     Prescott          B          L          2/16/2015
Simmone      Price             A          P          4/27/2007
Ashley       Price             W          K          1/28/2008
Ashleigh     Prieur            M          Z          10/29/2007
Ashleigh     Prieur            M          A          5/5/2010
Hannibal     Prince Sr         HJ         P          1/2/2017
Sequoya      Prince-Dantzler   J          P          8/2/2003
Sequoya      Prince-Dantzler   J          P          10/20/2011
Alisha       Pringle           R          A          2/19/2007
Alisha       Pringle           R          E          10/30/2013
Trisha       Pringle           I          J          1/16/2015
Alisha       Pringle           R          A          3/26/2015
Autumn       Proffitt          A          S          3/27/2014
Jackie       Putney            J          L          9/21/2013
Jackie       Putney            B          G          6/13/2015
DeAngelia    Quintana          A          Q          1/15/2005
DeAngelia    Quintana          B          Q          4/13/2008
ShaRhonda    Railsten          E          B          10/22/2012
Lonniesha    Rainey            S          N          7/13/2003
Lonniesha    Rainey            T          N          3/31/2005
Lonniesha    Rainey            S          S          6/24/2011
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Lonniesha    Rainey           R           M          9/6/2012
Keanion      Randolph         A           J          6/30/2006
Keanion      Randolph         J           R          4/14/2008
Terry        Randolph         K           D          2/18/2012
Keanion      Randolph         D           J          2/17/2014
Terry        Randolph         K           R          6/26/2014
Denise       Rankin           K           M          11/15/2006
Denise       Rankin           K           S          8/27/2008
Ashley       Rau              D           P          10/28/2009
Sarah        Raymond          T           S          7/30/2010
Sarah        Raymond          L           S          12/14/2012
Sarah        Raymond          M           H          12/14/2014
Thelma       Redwine          M           S          6/7/2011
Angielic     Reed             L           R          9/15/2014

Sheley       Rembert          O           T          12/20/2012
Gilbert      Reyna            G           R          3/30/2004
Gilbert      Reyna            G           R          8/16/2011
Tia          Reyna            J           R          4/6/2013
Gilbert      Reyna            V           R          2/16/2014
Tia          Reyna            X           R          3/6/2016
Gilbert      Reyna            B           R          5/11/2016
Lakeiya      Rice             AI          M          8/18/2003
Lakeiya      Rice             A           R          7/7/2004
Lakeiya      Rice             R           D          6/21/2006
Lakeiya      Rice             S           M          5/21/2007
Lakeiya      Rice             G           S          7/29/2008
Lakeiya      Rice             B           L          5/16/2010
Markel       Rice Sr          M           R          8/4/2012
Markel       Rice Sr          K           R          4/21/2015
Sheila       Richard          S           R          8/23/2005
Sheila       Richard          L           R          5/29/2013
Kimberly     Richardson       I           J          4/17/2003
Kimberly     Richardson       D           J          2/7/2006
Kimberly     Richardson       S           J          2/7/2006
Latifa       Riddick          C           J          10/29/2009
Latifa       Riddick          C           M          9/7/2013
Laquesha     Riggs            L           R          9/10/2003
Laquesha     Riggs            A           R          3/30/2006
Diar         Riley            Z           R          4/9/2004
Diar         Riley            J           H          10/31/2013
Diar         Riley            M           H          10/20/2017
Andre        Rison            A           R          5/18/2010
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Johnny       Roberts Jr.      J           R          10/21/2006
Carrie       Robinson         S           R          6/5/2006
Shayla       Robinson         H           S          2/25/2009
Carrie       Robinson         S           R          4/23/2010
Carrie       Robinson         K           W          3/12/2012
Carrie       Robinson         C           W          5/6/2013

Shayla       Robinson         C           D          5/21/2014

Shayla       Robinson         C           D          5/21/2014
Carrie       Robinson         S           W          12/29/2014
Sasha        Robinson         S           F          9/17/2015
Coretha      Robinson         B           J          1/22/2017
Torrey       Robinson I       T           R          1/4/2005
Torrey       Robinson I       RI          T          7/30/2009
Tonya        Rogers           A           H          2/4/2013
Tonya        Rogers           Z           R          2/5/2016
Vanessa      Romero           K           R          6/19/2008
Vanessa      Romero           K           J          9/27/2010
Jamanda      Ross             J           R          9/18/2006
Jamanda      Ross             R           J          5/29/2008
Amanda       Ross             C           A          10/2/2009
Jamanda      Ross             J           R          10/14/2010

Sharese      Ross             R           R          10/17/2015
Jamanda      Ross             J           R          12/15/2015

Sharese      Ross             R           R          11/7/2016
Shana        Rowser           R           C          1/27/2010
Regina       Rudd             M           M          12/21/2008
Regina       Rudd             S           M          2/11/2014
Latasha      Ruff             R           T          2/11/2003
Denise       Ruff             B           W          8/4/2006
Denise       Ruff             L           D          2/16/2008
Latasha      Ruff             A           G          1/10/2011
Denise       Ruff             K           W          10/10/2011
Dinah        Ruff             R           C          11/7/2011
Nicole       S Marshall       K           J          6/25/2003
Nicole       S Marshall       K           T          6/14/2005
Nicole       S Marshall       A           H          3/18/2008
Sheena       Saldana          M           K          7/29/2008
Vanita       Sanders          L           S          1/9/2005
Korethea     Sanders          W           K          4/26/2006
Korethea     Sanders          K           W          9/19/2007
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Korethea     Sanders          D           J          1/8/2010
Shina        Sanders          K           B          5/31/2010
Shina        Sanders          M           B          10/16/2011
Shina        Sanders          M           B          10/16/2011
Edsel        Sanders          T           S          4/18/2013
Shina        Sanders          W           B          2/8/2016
Korethea     Sanders          K           C          9/18/2016
Michelle     Santiago         A           S          6/28/2008
Michelle     Santiago         K           L          3/20/2009
Michelle     Santiago         D           L          2/23/2016
Keyaira      Saundars         W           A          7/11/2008
Keyaira      Saundars         K           A          5/14/2014
Bobby        Sawyers          J           A          7/17/2006
Chad         Schlosser        J           S          10/6/2013
Chad         Schlosser        J           S          12/4/2014
Angel        Schmidt          R           Z          5/7/2011
Angel        Schmidt          R           Z          3/21/2015
Kayla        Schwind          B           D          8/23/2012
Kayla        Schwind          B           D          8/16/2015
Chiquita     Scott            Z           S          6/10/2007
Chiquita     Scott            S           O          1/9/2009
Amy          Scroggins        A           S          2/21/2003
Amy          Scroggins        A           S          9/24/2007
Amy          Scroggins        TI          S          10/8/2009
Tilisa       Scroggins        J           H          1/26/2011
KataRa       Sealey           M           S          7/29/2010
Josephine    Seay             S           J          11/27/2005
Michael      Shaker           P           D          5/8/2010
Michael      Shaker           S           L          4/19/2012
Spencer      Sharkey          J           S          5/11/2016
Spencer      Sharkey          J           S          5/11/2016
Spencer      Sharkey          SJ          S          8/18/2017
Stephanie    Sharp            S           M          11/12/2002
Stephanie    Sharp            S           D          2/7/2007
Stephanie    Sharp            C           R          1/28/2015
Cyara        Sharpe           W           B          7/6/2012
Cyara        Sharpe           G           B          5/20/2014
KayCi        Shaw             D           D          10/5/2011
Chushana     Sheared          S           K          5/3/2005
Martiquo     Sherrod          M           S          5/6/2006
Martiquo     Sherrod          A           S          7/19/2008
Darryl       Shoemo           RJ          W          6/30/2005
Stacia       Shoemo           C           S          2/23/2013
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Stacia      Shoemo           C           S          6/14/2015
John        Shorez           S           S          7/25/2008
John        Shorez           L           R          8/9/2010
John        Shorez           J           S          12/28/2011
John        Shorez           J           S          4/7/2014
Latrina     Shoup            O           C          4/13/2016
Clifton     Shultz           S           B          7/14/2006
Abby        Simmonds         E           S          3/17/2012
DeAndrea    Simon-Shields    H           T          12/13/2004
DeAndrea    Simon-Shields    D           J          5/24/2006
DeAndrea    Simon-Shields    J           M          7/12/2007
DeAndrea    Simon-Shields    N           J          1/17/2009
DeAndrea    Simon-Shields    S           W          2/26/2011
DeAndrea    Simon-Shields    D           S          9/16/2014
Vanita      Singleton-Hill   K           H          3/28/2008
Ashley      Sisco            A           S          1/7/2007
Ashley      Sisco            L           S          8/23/2013
Jessica     Slade            S           G          9/2/2003
Jessica     Slade            S           A          12/9/2005
Jessica     Slade            S           M          7/27/2011
Marilyn     Slaughter        J           J          5/11/2003
Laketra     Slaughter        J           J          2/23/2005
Laketra     Slaughter        D           B          5/18/2008
Laketra     Slaughter        J           J          11/11/2011
Jojuana     Smith            B           J          11/8/2002
Laquisha    Smith            J           W          9/29/2003
Felicia     Smith            J           S          2/24/2004
Amanda      Smith            R           C          8/28/2004
Tasha       Smith            S           E          10/9/2004
Veleta      Smith            A           S          1/23/2005
Briona      Smith            D           T          10/5/2005
Amanda      Smith            A           S          1/19/2006
Amanda      Smith            A           C          3/29/2006
Jojuana     Smith            DJ          T          5/7/2006
Tamara      Smith            J           W          10/27/2006
Tamara      Smith            J           W          10/27/2006
Tasha       Smith            S           N          12/23/2006
Jojuana     Smith            T           J          6/2/2007
Jojuana     Smith            T           J          6/2/2007
Amanda      Smith            J           S          7/26/2007
Briona      Smith            J           R          4/25/2008
Laquita     Smith            R           T          5/30/2008
Amanda      Smith            J           S          7/25/2008
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Laquisha      Smith            D          T          12/4/2008
DeAndre       Smith            C          S          1/5/2009

Breaunna      Smith            M          M          8/16/2011
Jojuana       Smith            S          M          2/9/2012
Laquisha      Smith            D          B          3/15/2012
Kadeja        Smith            J          L          4/29/2012
Andonia       Smith            R          J          8/18/2012
Laquita       Smith            J          S          10/8/2012
Amanda        Smith            A          S          5/10/2013

Breaunna      Smith            M          M          5/20/2014
Laquisha      Smith            J          B          7/10/2014
Amanda        Smith            J          S          10/2/2014
Kadeja        Smith            J          B          7/8/2015
Amanda        Smith            A          S          10/8/2015
Shanqunique   Smith            N          H          4/4/2016
Tamara        Smith            M          E          4/20/2018
Dondrell      Smith Sr.        T          W          9/5/2004
Tawanna       Smith-Simmons    Z          S          1/3/2013

Jasmine       Snow             J          S          1/26/2011
Jasmine       Snow             L          A          6/9/2014
Debra         Soto             S          T          3/8/2004
Debra         Soto             E          S          3/11/2006
Debra         Soto             E          S          12/9/2007
Lynnette      Spears           K          S          6/14/2008

Shantara      Spicer-Johnson   Z          J          7/20/2014
Amanda        Spooner          B          S          5/7/2006
Krystal       Spooner          V          H          8/12/2007
Amanda        Spooner          G          S          3/18/2009
Krystal       Spooner          M          H          10/11/2010
Krystal       Spooner          M          H          10/11/2010
Amanda        Spooner          T          S          10/20/2010
Amanda        Spooner          I          S          12/19/2014
Amanda        Spooner          W          S          12/2/2015
Sharita       Stacks           D          N          1/3/2015
Sharita       Stacks           Z          S          3/6/2016
Jenny         Staggs           I          F          6/17/2004
Jenny         Staggs           M          S          6/26/2013
Rachel        Stanley          L          T          12/26/2007
Rachel        Stanley          A          P          6/7/2011
Shatoya       Starks           T          P          3/12/2012
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Shatoya      Starks           T           P          1/10/2014
Shatoya      Starks           T           P          6/3/2015
Kenn         Starnes          B           S          1/2/2004
Kenn         Starnes          L           S          4/19/2006
Kenn         Starnes          J           S          5/17/2016
Curtis       Steele           L           S          4/10/2004
Damonasha    Stephens         A           K          8/29/2007
Damonasha    Stephens         A           K          2/10/2012
Damonasha    Stephens         KJ          A          8/14/2013
Damonasha    Stephens         A           K          9/13/2014
Avian        Stephens         A           S          9/27/2014
Damonasha    Stephens         K           A          9/28/2015
Avian        Stephens         AJ          S          1/12/2016
Andre        Stephenson       AJ          S          1/4/2005
Andre        Stephenson       A           S          3/20/2007
Andre        Stephenson       A           S          4/11/2008
Monique      Stevenson        A           S          12/29/2011

Ashley       Stewart          M           S          12/20/2017
Dajaneke     Stockman         K           S          3/30/2012
Rachela      Stockman         SR          S          1/28/2015
Katrina      Strong           P           K          9/30/2004
Katrina      Strong           P           K          12/22/2005
Katrina      Strong           P           K          2/10/2010
Jessica      Strong           E           S          1/21/2014

Tanisha      Summers          A           W          7/6/2004
Tanisha      Summers          T           M          12/15/2007
Kendralia    Sweeney          D           B          8/12/2011
Kendralia    Sweeney          M           B          3/3/2013
Marisa       Sweeney          M           M          5/23/2016
Ryanesha     Swims            B           C          3/21/2004
Ryanesha     Swims            K           S          10/3/2009
Ryanesha     Swims            K           H          1/19/2016
Kristen      Szabo            N           E          9/14/2014
Kristen      Szabo            N           E          1/28/2017
Tracy        Talcott          B           T          11/27/2015
Sierra       Talton           E           S          6/20/2011
Theresa      Tanner           T           J          2/22/2006
Grace        Taylor           A           M          8/17/2003
Keona        Taylor           N           H          6/9/2004
Tiesha       Taylor           T           K          9/21/2004
Blake        Taylor           B           T          7/19/2005
Tiesha       Taylor           H           C          5/29/2007
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Blake        Taylor           D           R          11/2/2008
Shalonda     Taylor           G           T          4/14/2009
Shade        Taylor           A           R          10/29/2009
Tiesha       Taylor           T           M          12/2/2009
Blake        Taylor           Z           E          8/29/2011
Shade        Taylor           M           S          12/4/2011
Blake        Taylor           B           T          2/12/2012
Shade        Taylor           B           S          2/5/2013
Grace        Taylor           J           L          2/11/2013

Keona        Taylor           N           T          11/6/2013
Blake        Taylor           B           T          12/31/2014
Ashley       Taylor           A           T          1/25/2015
Shimesha     Taylor           S           P          6/7/2015
Shalonda     Taylor           T           G          8/19/2015
Blake        Taylor           A           T          7/20/2016
Brittany     Teague           E           H          9/15/2011
Qualimetra   Teat             Q           D          11/23/2002
Qualimetra   Teat             A           T          11/28/2003
Qualimetra   Teat             A           T          1/3/2005
Qualimetra   Teat             A           T          7/16/2006
Qualimetra   Teat             B           TJ         5/12/2008
Amber        Tedhams          A           C          10/8/2011
Amber        Tedhams          S           C          7/6/2013
Apricott     Teed             S           T          12/25/2005
Apricott     Teed             D           T          5/2/2007
Apricott     Teed             A           T          5/29/2009
Apricott     Teed             S           T          5/29/2009
Apricott     Teed             G           T          8/25/2011
Levolia      Thames           T           T          3/3/2005
Levolia      Thames           J           C          11/30/2005
Bobbie       Theodore         Z           J          6/27/2009
Kristy       Thomas           D           H          8/20/2003
Ernest       Thomas           A           T          10/18/2003
Ernest       Thomas           C           T          12/14/2005
April        Thomas           A           J          3/23/2006
Kristy       Thomas           M           Z          2/12/2008
Anaesha      Thomas           A           T          10/15/2008
April        Thomas           M           J          1/6/2009
Debony       Thomas           J           S          6/23/2009
Kristy       Thomas           W           M          5/14/2010
April        Thomas           A           T          8/3/2010
Anaesha      Thomas           J           T          9/12/2010
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Debony      Thomas           J           S          1/12/2012
Samantha    Thomas           C           C          1/20/2012
April       Thomas           A           T          10/12/2012
Anaesha     Thomas           L           T          6/4/2013
Samantha    Thomas           G           T          12/31/2013
Anaesha     Thomas           S           T          6/19/2014
Lakeisha    Thomas           K           T          8/23/2014
April       Thomas           A           T          9/22/2014
Anaesha     Thomas           K           T          3/25/2016
James       Thomas Jr        T           J          8/4/2004
James       Thomas Jr        T           J          12/3/2008
James       Thomas Jr        J           T          7/29/2013
Brianna     Thompson         D           T          10/5/2006
Kristen     Thompson         Z           T          8/28/2007
Kristen     Thompson         G           T          4/28/2009
Monique     Thompson         E           R          6/23/2010
Sarita      Thompson         A           A          4/2/2011
Brianna     Thompson         JJ          G          5/3/2011
Sarita      Thompson         A           A          7/12/2012
Brianna     Thompson         J           G          1/20/2013
Sianne      Thompson         K           S          8/6/2014
Kristen     Thompson         J           T          9/11/2014
Sarita      Thompson         BI          D          1/26/2016
Sifus       Thompson         T           J          4/28/2016
Brianna     Thompson         TI          H          1/23/2017
Davida      Thornton         E           K          10/25/2003
Davida      Thornton         A           C          2/15/2006
Tiffany     Thornton         T           N          7/19/2007
Davida      Thornton         A           K          9/7/2007
Euleen      Thorton          W           E          3/13/2004
Euleen      Thorton          J           W          7/22/2006
Euleen      Thorton          A           W          1/14/2009
Euleen      Thorton          C           W          4/22/2011
Euleen      Thorton          R           W          10/11/2012
Euleen      Thorton          W           D          7/24/2014
Euleen      Thorton          N           S          8/1/2016
Shomari     Tillis           T           K          5/9/2010
Ikea        Tillis           S           T          5/9/2014
Eric        Tillman          J           S          3/22/2005
Eric        Tillman          Y           A          2/17/2011
Eric        Tillman          J           T          9/7/2013
Eric        Tillman          E           T          3/17/2016
Sheena      Tipton           L           P          5/15/2011
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Kaitlyn      Tobin            K           B          11/6/2013
Malikah      Todd             T           W          11/29/2010
Lauren       Travis           A           T          3/25/2014
Latavia      Trice            S           D          5/10/2011
Latavia      Trice            M           D          10/7/2014
Latavia      Trice            J           D          4/20/2016
Stephanie    Tripp            J           G          10/30/2015
Sylvia       Tripplett        A           S          7/8/2004
Sylvia       Tripplett        A           S          7/8/2004
Sylvia       Tripplett        D           S          1/2/2008
Amara        Tripplett        T           H          5/10/2011
Alvinia      Trumbo           B           M          5/20/2009
Aleen        Trumbo           T           J          3/27/2011
Alvinia      Trumbo           A           D          3/28/2014
Aleen        Trumbo           T           B          8/7/2014
Aleen        Trumbo           T           B          6/14/2015
Aleen        Trumbo           A           B          11/5/2017
Tamekia      Tucker           M           B          3/9/2003
Tamekia      Tucker           K           T          6/13/2007
Michelle     Turner           C           T          2/19/2007
Tracey       Turner           T           T          1/15/2011
Tracey       Turner           T           T          3/4/2012

Donald       Turner II        S           B          4/23/2005
Donald       Turner II        C           B          3/18/2006
Donald       Turner II        C           B          3/18/2017
Teaqua       Turnipseed       C           T          2/4/2004
General      Tyler            T           C          1/18/2003
General      Tyler            T           C          3/6/2004
Stephanie    Tyler            E           X          1/5/2005
Stephanie    Tyler            EI          R          1/24/2006
General      Tyler            D           J          6/27/2006
Christina    Tyler            R           J          8/25/2006
General      Tyler            T           C          2/20/2007
Christina    Tyler            R           K          10/2/2007
General      Tyler            T           A          8/14/2008
General      Tyler            B           T          6/25/2009

Sakoya       Tyler            D           T          10/31/2010
Sakoya       Tyler            M           T          12/27/2013
General      Tyler            G           T          5/14/2014
Christina    Tyler            W           M          8/17/2015
Christina    Tyler            W           A          7/4/2016
Sakoya       Tyler            M           T          8/22/2016
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Earthly      Upchurch         S           W          6/17/2006
Earthly      Upchurch         S           U          7/31/2007
Earthly      Upchurch         S           U          5/14/2011
Earthly      Upchurch         T           U          2/2/2013
Michelle     Vanderhagen      M           S          11/25/2002
Michelle     Vanderhagen      T           S          4/15/2004
Michelle     Vanderhagen      A           S          7/31/2006

Michelle     Vanderhagen      R           V          10/22/2013
Johnnie      Vary             J           J          5/5/2003
Johnnie      Vary             T           A          8/13/2009
Terri        Vaughn           VJ          J          10/16/2003
Robert       Vickers          V           D          7/7/2005
Loretha      Vincent          D           V          10/3/2008
Gerald       Vincent Irvin    K           I          12/25/2004
Danessa      Violette         C           V          10/13/2011
Melissa      Waddell          S           S          9/6/2006
Melissa      Waddell          A           S          4/2/2009
Melissa      Waddell          H           S          3/9/2012
Melissa      Waddell          B           S          9/29/2015
Mikki        Wade             L           W          2/28/2003
Sheena       Wade             W           J          1/13/2004
Sheena       Wade             W           J          1/3/2006
Sheena       Wade             C           J          3/13/2007
Cierra       Wade             J           M          12/27/2013
Sharonda     Wade             J           W          8/26/2016
Cierra       Wade             K           J          8/11/2018
Cassidy      Wade Harrison    A           H          1/16/2013
Phillip      Wadsworth        W           W          5/3/2005
Tracey       Waite            F           W          1/31/2005
Artelia      Walker           H           M          10/26/2003
Tequila      Walker           A           K          6/15/2004
Rochelle     Walker           L           J          8/5/2006
Kevin        Walker           K           W          10/26/2006
Diandre      Walker           W           B          12/10/2006
Tequila      Walker           C           K          4/17/2007
Diandre      Walker           A           W          3/2/2009
Artelia      Walker           M           W          11/24/2009
Sheree       Walker           V           M          2/11/2010
Shaquille    Walker           S           W          3/24/2010
Diandre      Walker           D           W          7/29/2010
Shaquille    Walker           S           W          5/31/2012
Artelia      Walker           C           T          12/13/2013
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Sheree      Walker           R           W          9/9/2015
Kevin       Walker           K           WI         5/6/2016
Lashonna    Wallace          A           W          10/6/2007
Dominique   Walls            R           H          3/6/2006
Dominique   Walls            S           J          5/30/2011
Dominique   Walls            Z           B          10/17/2015
Candice     Walters          M           W          3/10/2009
LeeAnne     Walters          G           W          3/24/2011
LeeAnne     Walters          G           W          3/24/2011
Candice     Walters          T           W          2/2/2015
Thomas      Wandrey          A           J          7/12/2004
Thomas      Wandrey          A           J          6/26/2006
Thomas      Wandrey          A           W          12/30/2007
Angela      Ward             A           T          1/27/2005
Angela      Ward             A           T          1/5/2007
Antwan      Ward             N           W          4/10/2010
Gerald      Ware             F           G          3/31/2004
Gerald      Ware             H           F          4/4/2005
Gerald      Ware             J           F          11/11/2009
Lakreesha   Ware             L           B          4/7/2014
Gerald      Ware             R           W          7/21/2014
Lynetta     Warren           L           R          12/8/2002
Lynetta     Warren           S           R          7/22/2007
Cynthia     Warren           R           R          8/12/2008
Lynetta     Warren           C           W          10/25/2012
Shanika     Washington       D           G          12/19/2002
Shanika     Washington       D           G          11/29/2004
Trenay      Washington       A           W          12/18/2004
Ramona      Washington       O           T          5/11/2006
Venita      Washington       W           S          3/3/2007
Ronald      Washington       H           W          10/20/2008
Kenyoda     Washington       RJ          N          4/13/2009
Kenyoda     Washington       K           N          3/3/2010
Catherine   Washington       RI          W          6/3/2010
Jessica     Washington       J           E          11/20/2010
Jessica     Washington       E           R          1/17/2012
Catherine   Washington       A           W          8/18/2012
Kenyoda     Washington       R           N          9/15/2013
Jessica     Washington       J           E          1/29/2014
Catherine   Washington       C           W          3/22/2015
Ronald      Washington       S           W          5/14/2015
Kenyoda     Washington       S           W          5/15/2018
Kenyetta    Waterford        D           G          10/18/2007
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Kenyetta     Waterford        K           W          9/8/2013
Kenyetta     Waterford        G           W          7/12/2015
Jeanet       Watson           A           W          3/12/2012
Jacqueline   Weaver           T           W          7/18/2014
Jessica      Webber           M           N          2/10/2009
Dustin       Wefel            G           L          9/25/2009
Dustin       Wefel            L           W          6/10/2010
Dustin       Wefel            D           A          1/10/2012
Alicia       Weidman          W           K          9/28/2012
Yemisi       Wells            A           JI         1/8/2004
Yemisi       Wells            J           M          1/30/2007
Yemisi       Wells            L           M          7/20/2010
Trishanda    Wesley           J           M          2/2/2014
Kamesha      Westbrook        J           T          8/20/2008
Kinyon       Westbrook        K           W          3/14/2013
Kamesha      Westbrook        J           J          9/21/2013
Adia         Wheeler          D           W          12/26/2004
Alisha       Wheeler          G           J          2/28/2006
Danielle     Wheeler          M           S          10/20/2009
Danielle     Wheeler          E           S          3/29/2011
Danielle     Wheeler          B           W          12/18/2012

Lawrence     White            I           B          4/23/2003
Sade         White            Z           C          6/8/2005
Tavares      White            W           K          1/30/2007
Lawrence     White            L           W          5/27/2011
Sade         White            V           B          8/15/2012
Sade         White            V           B          8/15/2012
Jamilya      Whitner          A           J          12/14/2013
Jamilya      Whitner          A           J          11/13/2014
Anita        Wickham          K           C          5/16/2008
Anita        Wickham          J           F          10/2/2010
Anita        Wickham          J           C          11/4/2010
Ariel        Wiggins          D           W          3/30/2011
Ariel        Wiggins          A           T          11/13/2014
Ariel        Wiggins          D           V          3/27/2018
Angela       Wilborn          G           W          2/19/2003
James        Wilborn Sr.      S           W          9/30/2007
Anita        Williams         K           T          3/5/2003
Latress      Williams         S           D          10/24/2003
Savoyia      Williams         N           H          12/12/2003
Latonia      Williams         J           W          2/29/2004
Tailiah      Williams         LJ          R          3/28/2004
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Anita        Williams         K           T          6/1/2004
Tia          Williams         D           M          12/22/2004
Latress      Williams         S           D          3/9/2005
Anita        Williams         K           T          6/15/2005
Kimberly     Williams         Z           S          9/22/2006
Anita        Williams         K           T          3/9/2007
Savoyia      Williams         H           W          3/19/2007
Bennie       Williams         J           W          4/5/2007
Tia          Williams         H           R          12/7/2007
Jamarte      Williams         J           W          3/8/2008
Latress      Williams         J           N          12/17/2008
Latonia      Williams         J           W          2/4/2009
Anita        Williams         K           T          4/25/2009
Brenda       Williams         C           C          6/3/2009
Anita        Williams         M           T          3/21/2010
Mallory      Williams         L           C          1/18/2011
Shirley      Williams         M           W          10/29/2011
Candice      Williams         W           A          9/10/2012
Tia          Williams         W           K          9/26/2012
Tiffany      Williams         T           P          1/12/2014
Savoyia      Williams         M           W          6/28/2014
Lewis        Williams II      L           W          12/2/2006
Lisa         Williams Inman   L           W          2/20/2003
Lisa         Williams Inman   A           W          12/14/2006
Catessa      Willie           A           D          7/14/2005
Kira         Willingham       T           W          6/4/2010

Kira         Willingham       S           W          4/30/2016
Sheila       Willis           J           W          8/23/2005
Sheila       Willis           E           W          8/23/2005
Tashaya      Willis           Z           T          4/28/2009
Sonya        Willis           H           R          2/24/2012
Tashaya      Willis           Z           D          4/2/2013
Tashaya      Willis           Z           D          7/15/2014
Tashaya      Willis           Z           D          12/8/2016
Daniel       Wilson           D           W          11/1/2002
Ashley       Wilson           A           W          3/14/2003
Alicia       Wilson           M           W          6/3/2003
Tyisha       Wilson           D           A          9/5/2003
Keiana       Wilson           W           K          9/8/2003
Daniel       Wilson           D           W          3/1/2004
Daniel       Wilson           WJ          D          6/22/2004
Alicia       Wilson           A           W          6/22/2004
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Clara        Wilson           TJ          M          7/6/2004

Clara        Wilson           M           W          5/27/2005
Thomas       Wilson           T           W          6/28/2005
Tyisha       Wilson           R           A          3/26/2006
Tyisha       Wilson           A           I          7/27/2007
Thomas       Wilson           Z           W          9/26/2007
Keiana       Wilson           W           K          11/27/2007
Gabriel      Wilson           B           W          2/16/2008
Thomas       Wilson           Z           W          9/3/2008
Alicia       Wilson           SI          C          12/24/2009
Thomas       Wilson           T           W          7/12/2010
Alicia       Wilson           K           C          12/11/2010
Clara        Wilson           K           W          10/28/2012
Dallche'     Wilson           C           W          6/14/2015
Clara        Wilson           D           W          12/1/2015
Tyisha       Wilson           A           R          5/2/2016
Trisha       Winer            E           W          12/18/2013
Leanna       Woodley          M           T          2/2/2007
Leanna       Woodley          M           J          7/31/2012
Leanna       Woodley          E           H          10/14/2015
Latana       Woods            W           S          12/3/2008
Shamica      Woods            D           W          10/3/2010
Latana       Woods            J           K          5/26/2011
Shamica      Woods            D           W          4/20/2013
Latana       Woods            J           K          9/19/2013
Jodie        Woodworth        G           A          4/1/2015
Michael      Woolfolk         M           WJ         2/2/2008
Maureen      Woolworth        A           W          10/4/2012
Torrie       Wortham          J           R          10/26/2010
Torrie       Wortham          W           E          2/23/2012
Torrie       Wortham          H           E          1/11/2017
Saquanda     Wright           W           M          11/14/2003
Alea         Wright           A           W          10/8/2006
Lasonja      Wright           S           W          3/3/2008
Lovie        Wright           G           A          7/8/2008
Lovie        Wright           C           G          1/14/2010
Alea         Wright           LI          J          3/2/2012
Telisha      Wright           A           C          8/18/2014
Lovie        Wright           RI          G          5/2/2015
Velma        Wright           A           J          5/8/2015
Margaret     Yearby           C           W          6/24/2008
Margaret     Yearby           W           C          6/17/2009
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Margaret     Yearby           B           M          10/15/2013
Kamika       York             A           Y          7/6/2003
Chinika      Young            T           Z          1/31/2011
Shanay       Young            D           S          2/9/2011
Nakia        Young            N           G          11/12/2011
Chinika      Young            TJ          S          8/16/2012
Shanay       Young            E           W          5/25/2013
Shaquarius   Young            J           L          1/18/2015
Shantaja     Young            J           K          4/5/2016
Yvonne       Young            A           R          4/15/2016
Janea        Young-Brooks     L           P          9/14/2011
Melissa      Zann             J           T          1/25/2006
